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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DONALD J. TRUMP, 45" President of the
United States of America, in his individual
capacity,

MEMORANDUM
Plaintiff, OPINION & ORDER

- against - 23 Civ. 6883 (PGG)
SIMON & SCHUSTER, INC., ROBERT
WOODWARD, and PARAMOUNT
GLOBAL,

Defendants.

PAUL G,. GARDEPHE, U.S.D.J.:
Between March 2016 and August 2020, Plaintiff Donald J. Trump was
interviewed by Defendant Robert Woodward on twenty separate occasions. Recordings of these

twenty interviews were later used in The Trump Tapes: Bob Woodward’s Twenty Interviews

with President Trump, an audiobook published by Defendant Simon & Schuster, Inc., and in

certain companion works. (Second Am. Cmplt. (“SAC”) (Dkt. No. 70) ¥§ 36, 39)!
In this action, Plaintiff Trump seeks a declaration that he is “the joint author and
copyright owner of the Interview Sound Recordings, Audiobook, and Derivative Works”

associated with The Trump Tapes.” (Id. at 20)° In the alternative, Plaintiff seeks a declaration

' Simon and Schuster was, at all relevant times, a subsidiary of Defendant Paramount Global.
(Id. 2)

* The SAC defines “Interview Sound Recordings” as Woodward’s interviews of Plaintiff Trump
between December 5, 2019 and August 14, 2020. (Id. § 36) “Audiobook” — as used in the SAC
— refers to the audiobook version of “The Trump Tapes.” (Id. 39) “Derivative Works” refers
to paperback, e-book, and CD versions of the Audiobook. (Id. § 45)

3 Except as to the paperback version of The Trump Tapes, the page numbers of documents cited
in this Opinion correspond to the page numbers designated by this District’s Electronic Case

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that he holds “a copyright interest in his responses in the Interview Sound Recordings,

Audiobook, and Derivative Works [associated with The Trump Tapes].” (Id. at 21). In addition

to the declaratory judgment-copyright claim, the SAC asserts (1) an unjust enrichment claim (id.
{{ 74-100) and seeks an accounting (id. {J 66-73) as to all defendants; and (2) a breach of
contract claim and a breach of the covenant of good faith and fair dealing claim against
Defendant Woodward. (Id. {§ 101-13)

Defendants have moved to dismiss under Fed. R. Civ. P. 12(b)(6) for failure to
state a claim. (See Dkt. No. 72) For the reasons stated below, that motion will be granted.

BACKGROUND

1. FACTS’

A. The Interviews

Defendant Woodward is the author of multiple books that chronicle Plaintiff
Trump’s first term as President of the United States. (SAC (Dkt. No. 70) {ff 13-14, 33-34) Fear:

Trump in the White House was published by Defendant Simon & Schuster on September 10,

Files (“ECF”) system. Citations to the paperback version of The Trump Tapes refer to the book’s
pagination.

4 The Court’s factual statement is drawn from the SAC, documents that the SAC incorporates by
reference, and public records subject to judicial notice under Fed. R. Evid. 201(). Well-pled
facts in a complaint are presumed true for purposes of resolving a motion to dismiss. See
Kramer v. Time Warmer Inc., 937 F.2d 767, 773 (2d Cir. 1991).

In resolving Defendants’ motion to dismiss, the Court has considered the paperback version of
The Trump Tapes. (See McNamara Decl., Ex. A (Ihe Trump Tapes paperback) (Dkt. No. 74-1))
Given that The Trump Tapes is — in all its forms — “integral to” Plaintiff’s claims and is quoted in
the SAC, the Court may consider it in connection with the motion to dismiss. See Roth v.
Jennings, 489 F.3d 499, 509 (2d Cir. 2007) (courts may consider on a motion to dismiss “a
document upon which the complaint solely relies and which is integral to the complaint,” even
where that document is not attached to the complaint) (citation omitted and alteration accepted);
Hord v. Jackson, 281 F. Supp. 3d 417, 420 n.4 (S.D.N.Y. 2017) (considering disputed script in
connection with a motion to dismiss copyright infringement claims, because it was “incorporated
into the [c]omplaint by reference”).

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2019. (Id. 34) Rage — Woodward’s second book about the Trump presidency — was published
on September 14, 2021. (id. § 35)

In connection with his research for Rage, Woodward asked Trump if he would
agree to be interviewed. (Id. J 35-36) Trump consented to being interviewed, including “to
being recorded,” but the SAC alleges that he consented “only for the purpose[] of the book...
Rage” and not for any other purpose. (Id. §§ 36, 42, 102 (internal quotation marks omitted))

The SAC does not allege that Trump and Woodward entered into any sort of
written agreement concerning the Trump interviews. As to an oral agreement, the SAC cites the
following exchange during “Interview 4” on December 30, 2019:

Woodward: On the record for the book, unless you—

Trump: For the book only, right? Only for the book.

Woodward: The book only, yeah, ’'m not—

Trump: For the book only, right? So there’s no—

[Hogan] Gidley: Right. So there’s no stories coming out, okay.
(Id. § 49)°

The SAC asserts that the “interviews were not provided in the scope of President
Trump’s employment by the [F]ederal government,” but were instead “prepared at President

Trump’s own volition and outside of his official duties.” (Id. § 37)

> As set forth in The Trump Tapes paperback version, the exchange was as follows:

BW: I’m going to turn this on. On the record for the book. Unless you modify—
TRUMP: For the book only, right? Only for the book?

BW: Book only, yeah. I’m not—

TRUMP: Okay. For the book only. Right?

[HOGAN] GIDLEY: Right. No stories coming out, no nothing.

(McNamara Decl., Ex. A (The Trump Tapes paperback) (Dkt. No. 74-1) at 137) Hogan Gidley
was, at the time, President Trump’s deputy press secretary. (Id.)

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Over a seven-month period between December 5, 2019 and August 14, 2020,
Defendant Woodward interviewed Plaintiff Trump on nineteen separate occasions. (Id. {| 35-36)
These interviews took place in person at the Oval Office in the White House and at Trump’s
Mar-a-Lago home in Palm Beach, Florida, and by telephone after the COVID-19 pandemic
began in March 2020. (Id. 436) At each interview Plaintiff agreed that the interview was “on
the record” and could be recorded by “tape recorder.” On one occasion, Woodward — with

Trump’s permission — took handwritten notes. (McNamara Decl., Ex. A (Ihe Trump Tapes

paperback) (Dkt. No. 74-1) at 175)

Woodward sometimes interviewed Trump alone, and sometimes with members of
his administration. For example, during the December 5, 2019 interview, Trump was joined by
Vice President Pence, Senator Lindsey Graham, Chief of Staff Mick Mulvaney, Deputy Press
Secretary Hogan Gidley, and Senior Political Counselor Kellyanne Conway. (Id. at 45, 78)
Deputy Press Secretary Gidley was present for two other interviews in December 2019. (Id. at
86, 137) Trump’s Senior Advisor Jared Kushner joined by telephone on February 19, 2020 (ad. at
212, 220-22), and Deputy Chief of Staff for Communications Dan Scavino was present on
several occasions. (Id. at 86, 112, 169) Members of the administration sometimes interjected
comments during the interviews. (See, ¢.g., id. at 116 (Dan Scavino “weigh[ing] in” that he
“never once heard [Trump say] the word — ever — Russia” on “the campaign trail’”))

B. The Trump Tapes

On October 25, 2022, Simon & Schuster published “more than eight hours of

‘raw’ interviews with President Trump” as an audiobook entitled The Trump Tapes: Bob

Woodward’s Twenty Interviews with President Donald Trump. (SAC (Dkt. No. 70) § 39) Simon

& Schuster later released an audio version in CD format, and paperback and e-book versions of

the original audiobook. (Id. § 45)

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The SAC alleges that, in preparing the The Trump Tapes audiobook for

publication, Defendants Simon & Schuster and Woodward “collate[d] and cobble[d] together
more than eight hours of ‘raw’ interviews with President Trump,” “alter[ed] the spoken words,”

and “remov[ed] context.” (SAC (Dkt. No. 70) ff 39, 112(c))

The Trump Tapes paperback version begins with a “personal note” written by
Woodward, an “opening selection of excerpts” from the interviews, and a three-page introduction

by Woodward. (McNamara Decl., Ex. A (The Trump Tapes paperback) (Dkt. No. 74-1) at vil-ix,

1-3) Transcriptions of the interviews follow, together with commentary. (Id. at 5) The Trump
Tapes closes with a six-page epilogue written by Woodward (id, at 414-19), followed by an
appendix of letters between Kim Jong-Un and Trump. (Id. at 423-54)

The Trump Tapes includes Woodward’s nineteen interviews of Trump between

December 2019 and August 2020, as well as a March 31, 2016 interview of Trump conducted by
Woodward and political reporter Robert Costa when Trump was a presidential candidate about to
secure the Republican nomination. (See id. at 5-44; SAC (Dkt. No. 70) 36) Each of the Trump

interviews is the subject of a separate chapter in The Trump Tapes, and the title of each chapter is

a line selected from that interview. For example, one chapter is entitled “Interview 8: I’m
Number One,” which is a statement Trump made during that interview. (See McNamara Decl.,

Ex, A (The Trump Tapes paperback) (Dkt. No. 74-1) at 212)°

6 In addition to the interviews of Trump, The Trump Tapes includes Woodward’s May and June
2020 interviews of Trump’s national security advisers Robert O’Brien and Matthew Pottinger.
These interviews are found in a chapter entitled “Turning Point: Trump’s National Security
Advisers.” (Id. at 295-310; id. at 296 (“I am including parts of my interviews with O’Brien and
Pottinger because my discussions with them represented a fundamental turning point in my
reporting for the book.”)) In the “Turning Point” chapter, Woodward presents a “montage” of
audio clips from his March 19, 2020 interview of Trump, which Woodward described as
“evidence of Trump’s failure to lead the country. ...” (Id. at 308)

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As noted above, The Trump Tapes includes commentary from Woodward along

with the interviews. For example, Woodward opens each chapter by providing context for the

interview that will follow, such as the date of the interview and a reference to contemporaneous
political events. (See, e.g., id. at 254-55) Woodward also frequently inserts commentary in the
midst of interviews in order “to provide essential context or clarification.” (Id. at 2) According

to The Trump Tapes, Woodward created “227 new commentaries” for the work. (Id. at vii)

Some of Woodward’s remarks are quite short (see, e.g., id. at 91 (“Trump is
referring to Ukrainian president Zelensky.”); id. at 348 (“He seemed not to understand racial
inequality went way beyond job numbers.”); id. at 55 (“This is not true. North Korean Leader
Kim Jong Un had written letters to other presidents and world leaders.”); id. at 325 (“Trump was
exaggerating. Saudi Arabia paid the U.S. approximately $500 million for its troop presence in
December 2019.”); id. at 72 (“This is probably not true, and I could find no evidence to support
what Trump had said.”)), while others are lengthy. For example, Woodward provides a page-
and-a-half of commentary concerning Trump’s response to the COVID-19 pandemic. (Id. at 406-
07)

In The Trump Tapes, Woodward also discusses his investigative and writing

process for Rage, For example, he explains how his focus shifted over time from Trump’s
foreign policy decisions to “the absence of presidential leadership” in responding to the COVID-
19 pandemic. According to Woodward, this shift in focus took place only “[s]Jeven and a half
weeks... from [his] publishing deadline.” (1d. at 302; see also id. at 338 (in May 2020, “I
completely reconfigured my book. . . .”))

Woodward also discusses his strategy for the Trump interviews: how he “wanted

to lay [the questions] out as starkly and candidly as [he] could” (id, at 255), and how he did his

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“homework” before each interview (id. at 417), preparing a “list of questions” or a list of
“priority areas” to cover. (Id. at 5, 255)

Woodward’s December 30, 2019 interview of Trump concerned, inter alia, his
“impeachment by the Democratic House of Representatives twelve days earlier on December
18th.” (Id, at 136) A portion of Woodward’s commentary concerning this interview — and the
exchange between him and Trump concerning Trump’s call to Ukraine President Zelensky about
investigating former Vice President Biden for corruption — is set forth below:

COMMENTARY: I then proceeded to question Trump on the impeachment issue.

Since he never testified at his impeachment trial it is the only time he was
aggressively questioned — even interrogated — about it.

BW: Will you allow me to persist with I think this is the important, core
question in this?

TRUMP: There wasn’t a thing — excuse me, Bob, there wasn’t a thing wrong
with that call.

BW: Well —

TRUMP: And those people — now here’s what was —

BW: Do you want the policy of the United States to be that the president
of the United States can talk to foreign leaders and say,
investigate? I want you to talk to the attorney general about
investigating somebody who’s a political opponent?

TRUMP: No. No. No. I want them to investigate corruption. What he did
was corrupt. I want them to investigate corruption. And I didn’t
say, call my campaign manager. I said, the attorney general of the
United States —

BW: I understand the points you’re making. I’m asking the policy
question, is this a good policy for the president of the United
States, to be talking to foreign leaders about—

TRUMP: Okay, ready?

BW: — investigating anyone —

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TRUMP:

BW:

TRUMP:

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TRUMP:

(Id. at 157-59)

Corruption. Yes, corruption.
Well, but naming a political opponent.

If the political opponent is corrupt, they can let us know. Look, his
son —

Do you think that’s the president’s job?

His son —

Is that the president’s job? I’m sorry to persist on this, but —
The president’s job is to investigate corruption.

Yeah.

If there was corruption, we’re giving billions of dollars to a
country, that country should let us know if there’s corruption.

You don’t see the other side on this at all?
I don’t see it at all, no.
Zero?

No..

After a further exchange concerning this same topic, Woodward inserts the

following commentary:

COMMENTARY: I believed what Trump had done was wrong. But I knew from
our past interviews once Trump dug in he’d be immovable, especially in the
middle of his impeachment trial. I was trying to get him to instead look at it from
a different perspective. And I wanted to engage him with the broader policy
question. Was it good policy for a sitting president to ask a foreign leader to
investigate his political opponent?

(Id. at 164)

Woodward also inserts commentary to explain why he asked Trump certain

questions:

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BW: Where do you start the movie of your decision —

TRUMP: Yeah, I saw that.
BW: —to run for president? ...

COMMENTARY: I intentionally asked Trump: when does the movie begin
because I knew that Trump thought in terms of movies, visuals, big spectacular
events. He wants to talk about his success, not his decision to run for the
presidency.

(Id. at 5, 8)
In connection with the COVID-19 pandemic, Woodward asked Trump whether he

had “been able to talk to Bill Gates?” He then inserted the following commentary”

COMMENTARY: I believed that Bill Gates, the Microsoft billionaire who had
worked on virus eradication worldwide, could help Trump understand the
necessity of full mobilization.

(Id, at 280)

And after asking Trump — “who was the first person to tell you in January or
February and alert you to, my God, this is the plague, this is going to be the big event of your
presidency?” — Woodward inserted the following commentary:

COMMENTARY: I was probing to see if he would bring up O’Brien and
Pottinger’s January 28th early warning. Trump, however, made no reference to it.

(Id. at 317)

When The Trump Tapes audiobook was published, Simon & Schuster’s website

billed it as “By Bob Woodward” and “Read by Donald J. Trump and Bob Woodward”:

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at Simon & Schuster CATEGORIESY AUTHORS NEW RELEASES BESTSELLERSW WHAT'S HOTV MN 8

The Trump
Tapes

Bob Woodward's Twenty
Interviews with President Donald

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By Bob Woodward

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(SAC (Dkt. No. 70) § 43, fig. 1) The SAC alleges, however, that The Trump Tapes was published

“Tw]ithout President Trump’s permission” (id. § 39), and that Trump “has received no
compensation in connection with said work.” (1d. {{ 43-45)
On February 23, 2023, Woodward obtained from the U.S. Copyright Office a

copyright registration for the paperback version of The Trump Tapes. (McNamara Decl., Ex. E

(Woodward Copyright Registration) (Dkt. No. 76-1)) As for the “basis of the claim,” the
registration cites
text of literary work in questions and spoken commentary as fixed in the
phonorecord, and the selection and arrangement of the work as a whole, including
any selection, arrangement and/or editing of the responses by third parties.

(Id.) That same day, Simon & Schuster obtained a copyright registration for “10 Compact Discs”

making up the audiobook version of The Trump Tapes. The “type of work” is identified as a

“sound recording.” (Id., Ex. F (Simon & Schuster Copyright Registration) (Dkt. No. 76-2))
On February 28, 2023, Plaintiff submitted an application to the U.S. Copyright

Office asserting that he had “sole authorship of the Interviews, Audiobook, and the Derivative

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Works [associated with The Trump Tapes].” (Garson Decl. (Dkt. No. 77-1) (13) On October 13,
2023, the Copyright Office issued a copyright registration to Donald J. Trump and Bob

Woodward for The Trump Tapes “sound recording, texts.” In the registration, Trump and

Woodward are both listed as the “author” and the “copyright claimant.” (SAC, Ex. A
(Trump/Woodward Copyright Registration) (Dkt. No. 70-1)’

In a November 30, 2023 letter to Simon &Schuster, the Copyright Office provided
the following explanation concerning the conflicting registrations:

We recently completed two registrations for... “The Trump Tapes” under the
registration numbers TX0009335307 and SRO000981326. We also received an
adverse claim in the same work from Robert Garson on behalf of Donald Trump.

As we explained previously, the Copyright Office is an office of record and it
does not have the authority to adjudicate adverse or conflicting claims submitted
for registration. Each claim is examined to determine whether it complies with
statutory and regulatory requirements; if it does, it is registered. Where
conflicting claims are received, the Office may put both claims on record if each
is acceptable on its own merits. It is the responsibility of the parties involved in
the dispute to pursue their rights in their works.

We are notifying you that we completed the registration submitted on behalf of
Mr. Trump under registration number SR0000975712. We will also be notifying
Mr. Trump of your completed registrations.

This letter is for your information only; no reply is necessary.

(McNamara Decl., Ex. G (Nov. 30, 2023 U.S. Copyright Office Ltr.) (Dkt. No. 76-3))8

7 The Trump/Woodward Copyright Registration references International Standard Book Number
(“ISBN”) 9781797124735. (Id.) That ISBN corresponds with the audiobook version of The
Trump Tapes. (See SAC (Dkt. No. 70) § 39 n.13) “An IBSN ... is a 13-digit number that
uniquely identifies books and book-like products, such as audiobooks.” Warren v. Xlibris Corp.,
No. 1:11 CV 200, 2012 WL 266956, at *1 n.1 (W.D. Mich. Jan. 6, 2012).

8 U.S. Copyright Office registration numbers TX0009335307 and SR0000981326 are for the
paperback and audiobook versions of The Trump Tapes, respectively. (Id., Exs. E, F)

1]

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Il. PROCEDURAL HISTORY

The Complaint was filed in the Northern District of Florida, Pensacola Division,
on January 30, 2023, and seeks a declaration that Plaintiff “owns the Interview Sound
Recordings, Audiobook, and Derivative Works in full.” (Cmplt. (Dkt. No. 1) § 64) The
Complaint also asserts claims for, inter alia, breach of contract against Woodward, breach of the
covenant of good faith and fair dealing against Woodward, and unjust enrichment against all
Defendants. (See Cmplt. (Dkt. No. 1) §{[ 67-127)

The Amended Complaint was filed on April 24, 2023. (Am. Cmplt. (Dkt. No.
32)) The substantive allegations of the Complaint and the Amended Complaint are materially
identical, but the Amended Complaint adds allegations regarding jurisdiction and venue.
(Compare Cmplt. (Dkt. No. 1) §§ 8-18 with Am. Cmplt. (Dkt. No. 32) {fj 7-24) After the case
was transferred to this District pursuant to 28 U.S.C. § 1404(a) and Fed. R. Civ. P. 12(6)(3) (see
Aug. 4, 2023 Transfer Order (Dkt. No. 48) at 23), Defendants moved to dismiss the Amended
Complaint. (Sept. 11, 2023 Mot. to Dismiss (Dkt. No. 57))

In a November 1, 2023 letter — submitted after the motion to dismiss was fully
briefed — Plaintiff informed this Court that the Copyright Office had registered the “sound

recording” and “text” of the The Trump Tapes audiobook to Trump and Woodward effective

February 28, 2023. (Pltf. Nov. 1, 2023 Ltr. (Dkt. No. 64) at 1) Plaintiff then filed the Second
Amended Complaint, which addresses the copyright registration and asserts seven claims against

Defendants. (See SAC (Dkt. No. 70) {ff 58-113)?

° In addition to addressing the newly issued copyright registration (see SAC (Dkt. No. 70) at 3, {
57 and Ex. A), the SAC drops the Amended Complaint’s allegations that “President Trump never
sought to create a work of joint authorship” (see Am. Cmplt. (Dkt. No. 32) § 53) and that
Defendants “manipulated” Trump’s answers “to support the particular narrative desired” by
Defendants. (See id. { 58-63) The SAC also drops the Amended Complaint’s promissory
estoppel and Florida Deceptive and Unfair Trade Practices Act claims. (See id. J 108-123)

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In Count I of the SAC, which is alleged against all Defendants, Plaintiff seeks a
declaration that he “is, at minimum, the joint author and copyright owner in the Interview Sound
Recordings, Audiobook, and Derivative Works .. . and therefore is entitled to the pro rata
revenues arising from the exploitation of such works[.]” (SAC (Dkt. No. 70) at 20) In the
alternative, Plaintiff seeks a declaration that he “has a copyright interest in his responses in the
Interview Sound Recordings, Audiobook, and Derivative Works . . . and therefore is entitled to
the pro rata revenues arising from the exploitation of such works[.]” (Id. at 21)

In the SAC’s Count II, which is alleged against all Defendants, Plaintiff seeks an
accounting as to the “income earned on the Interview Sound Recordings, Audiobook, and
Derivative Works.” (Id. {{[ 66-73)

In Counts III, IV, and V, the SAC alleges unjust enrichment claims against all
three Defendants, asserting that they have “received the benefit of revenues, fees, royalties, and
other consideration” from the “unauthorized Audiobook and Derivative Works” and have not
compensated Plaintiff for his “contributions to the Audiobook and all Derivative Works.” (Id. {f
75-100)

In Count VI, the SAC alleges breach of contract against Woodward. Plaintiff
alleges that he “entered into an agreement whereby Woodward represented, warranted, and
agreed that the Interview Sound Recordings could be utilized only for the purposes of writing a
singular book.” (Id. § 102) Woodward thus “had a limited license to utilize the Interview Sound
Recordings” (id. § 103), and breached that license “upon publication of the Audiobook .. . [and]
the Derivative Works.” (id. {J 106-07)

In Count VII, the SAC alleges that Woodward breached the implied covenant of

good faith and fair dealing by

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_.. [plarticipating and otherwise being complicit in the publication of the
Interview Sound Recordings via the Audiobook and the Derivative Works with
knowledge of the agreement between him and President Trump regarding the
limitations of any license granted to publish portions of the same;
_.. [p]ublication of the Interview Sound Recordings to capitalize and benefit from
President Trump’s voice to the detriment of President Trump’s ability to publish
his own voice given his position as author;
_.. [plublication of the Interview Sound Recordings with alteration in the spoken
words and removal of context, to cast a poor light on President Trump and to
mislead and deceive other customers into viewing him in a poor light.

(Id. {] 112)

On December 6, 2023, Defendants moved to dismiss the SAC. As to Plaintiff’s
declaratory judgment-copyright claim, Defendants argue that (1) that claim is barred by the
government works doctrine; (2) Plaintiff has no copyright interest in the interview recordings, in
his interview responses, in the audiobook, or in the derivative works; and (3) the publication of
Plaintiffs interview responses in the audiobook and the derivative works constitutes a fair use.
(Def. Br. (Dkt. No. 73) at 16-32) Defendants further contend that the SAC’s state law claims
should be dismissed as preempted by the Copyright Act; that the breach of contract claim against
Woodward fails to state a claim; and that no claim of any sort has been pled against Defendant

Paramount Global. (Id, at 34-38)

DISCUSSION

I. LEGAL STANDARDS

A. Rule 12(b)(6)

“To survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.”” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “In

considering a motion to dismiss[,] . . . the court is to accept as true all facts alleged in the

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complaint,” Kassner v. 2nd Ave. Delicatessen Inc., 496 F.3d 229, 237 (2d Cir. 2007) (citing

Dougherty v. Town of N. Hempstead Bd. of Zoning Appeals, 282 F.3d 83, 87 (2d Cir. 2002)), and

must “draw all reasonable inferences in favor of the plaintiff.” Id. (citing Fernandez v. Chertoff,

A471 F.3d 45, 51 (2d Cir. 2006)).

A complaint is inadequately pled “if it tenders ‘naked assertion[s]’ devoid of
‘further factual enhancement,”” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557), and
does not provide factual allegations sufficient “to give the defendant fair notice of what the claim

is and the grounds upon which it rests.” Port Dock & Stone Corp. v. Oldcastle Northeast Inc.,

507 F.3d 117, 121 (2d Cir. 2007) (citing Twombly, 550 U.S. at 555). “Threadbare recitals of the
elements of a cause of action, supported by mere conclusory statements, do not suffice [to
establish an entitlement to relief].” Igbal, 556 U.S. at 678.

“In considering a motion to dismiss for failure to state a claim pursuant to Rule
12(b)(6), a district court may consider the facts alleged in the complaint, documents attached to
the complaint as exhibits, and documents incorporated by reference in the complaint.” DiFolco

v. MSNBC Cable L.L.C., 622 F.3d 104, 111 (2d Cir. 2010) (citing Chambers v. Time Warner, Inc.,

282 F.3d 147, 153 (2d Cir. 2002) and Hayden v. Cty. of Nassau, 180 F.3d 42, 54 (2d Cir. 1999)).

“Where a document is not incorporated by reference, the court may never[the]less consider it

where the complaint ‘relies heavily upon its terms and effect,’ thereby rendering the document

‘integral’ to the complaint.” Id. (quoting Mangiafico v. Blumenthal, 471 F.3d 391, 398 (2d Cir.
2006)) In resolving a motion to dismiss, “a district court .. . may also consider matters of which
judicial notice may be taken under Fed. R. Evid. 201.” Kramer, 937 F.2d at 773.

B. Copyright Act

Section 102(a) of the Copyright Act of 1976 protects “original works of authorship

fixed in any tangible medium of expression,” including “literary works” and “sound recordings.”

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17 U.S.C. § 102(a); 16 Casa Duse, LLC v. Merkin, 791 F.3d 247, 256 (2d Cir. 2015) (same).

Under the Copyright Act, a “sound recording” is a
work] that result(s] from the fixation of a series of musical, spoken, or other
sounds, but not including the sounds accompanying a motion picture or other

audiovisual work, regardless of the nature of the material objects, such as disks,
tapes, or other phonorecords in which they are embodied.

17 U.S.C. § 101.
For purposes of the Copyright Act,“the author is the party who actually creates the
work, that is, the person who translates an idea into a fixed, tangible expression entitled to

copyright protection.” Cmty. for Creative Non- Violence v. Reid, 490 U.S. 730, 737 (1989) (citing

17 U.S.C. § 102).
Under the Copyright Act,
[a] work is “fixed” in a tangible medium of expression when its embodiment in a
copy or phonorecord, by or under the authority of the author, is sufficiently
permanent or stable to permit it to be perceived, reproduced, or otherwise
communicated for a period of more than transitory duration.

17 U.S.C. § 101. Fixation must be done “by or under the authority of the author.” Id.

The Copyright Act “does not protect ideas, [of course,] but only ‘the original or

unique way that an author expresses those ideas.’” Andy Warhol Found. for the Visual Arts, Inc.
v. Goldsmith, II F.4th 26, 46 (2d Cir. 2021), aff’d, 598 U.S. 508 (2023) (quoting Rogers v.
Koons, 960 F.2d 301, 308 (2d Cir. 1992)).

Although the Copyright Act does not explicitly address interviews, courts have
afforded them protection under the Act as “literary works,” “sound recordings,” or

“compilation[s].” 17 U.S.C. § 101; see, e.g., Swatch Grp. Mgmt. Servs. Ltd. v. Bloomberg L.P.,

808 F. Supp. 2d 634, 636-37 (S.D.N.Y. 2011) (concluding that recorded interview was subject to

copyright protection as a “sound recording”); Quinto v. Legal Times of Washington, Inc., 506 F.

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Supp. 554, 559 (D.D.C. 1981) (affording copyright protection to a series of interviews as a
“compilation”).
IL. ANALYSIS

A. Declaratory Judgment-Copyright Claim

As discussed above, Plaintiff contends that he is, “at minimum, the joint author
and copyright owner in the Interview Sound Recordings, Audiobook, and Derivative Works at
issue... .” (SAC (Dkt. No. 70) § 65(a)) This claim is premised on the notion that Woodward
and Plaintiff are joint authors of the works at issue, as reflected in the February 28, 2023
copyright registration issued by the U.S. Copyright Office to Plaintiff and Woodward. (Id. { 62;
id., Ex. A) In the alternative, Plaintiff contends that he has “a copyright interest in his
[interview] responses” as set forth in these works. (Id. 4 65(b)) Defendants counter that Plaintiff
“cannot state a claim for joint authorship of the Work or ownership of his responses in the
[iJnterviews.” (Def. Br. (Dkt. No. 73) at 22)

1 Copyright Premised on Joint Authorship

a. Applicable Law

The Copyright Act recognizes that a single work may have more than one
“author,” see 17 U.S.C. § 201(a), and defines a “joint work” as “a work prepared by two or more
authors with the intention that their contributions be merged into inseparable or interdependent
parts of a unitary whole.” 17 U.S.C. § 101. “Joint authorship entitles the co-authors to equal
undivided interests in the whole work,” and “each joint author has the right to use or to license
the work as he or she wishes, subject only to the obligation to account to the other joint owner

for any profits that are made.” Thomson v. Larson, 147 F.3d 195, 199 (2d Cir. 1998).

The “touchstone” of joint authorship “‘is the intention at the time the writing is

done that the parts be absorbed or combined into an integrated unit.’” Id. at 199 (quoting

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H.R.Rep. No. 1476, 94th Cong. 120, 121 (1976)). An intent to create an “integrated unit” is not
sufficient standing alone, however, because

an inquiry so limited would extend joint author status to many persons who are
not likely to have been within the contemplation of Congress. For example, a
writer frequently works with an editor who makes numerous useful revisions to
the first draft, some of which will consist of additions of copyrightable
expression. Both intend their contributions to be merged into inseparable parts of
a unitary whole, yet very few editors and even fewer writers would expect the
editor to be accorded the status of joint author, enjoying an undivided half interest
in the copyright in the published work.

Childress v. Taylor, 945 F.2d 500, 507 (2d Cir. 1991).

Accordingly, the Second Circuit has set forth a two-pronged test to assess co-
authorship claims where, as here, the parties did not enter into a written agreement concerning a
work. Under the Second Circuit’s test, the party claiming co-authorship “bears the burden of
establishing that each of the putative co-authors (1) made independently copyrightable
contributions to the work; and (2) fully intended to be co-authors.” Thomson, 147 F.3d at 200

(citing Childress, 945 F.2d at 507-08); see also 16 Casa Duse, 791 F.3d at 255 (same). In

formulating this test, the court sought to “strike a balance between ‘ensur [ing] that true
collaborators in the creative process are accorded the perquisites of co-authorship,’ while at the
same time, ‘guard[ing] against the risk that a sole author is denied exclusive authorship status
simply because another person render[s] some form of assistance.” Thomson, 147 F.3d at 200
(alterations in original) (internal citations omitted) (quoting Childress, 945 F.2d at 504).

While the parties’ subjective intent at the time the work was created is the
“touchstone” for the analysis, “subsequent conduct” can be “probative of [the parties’ ] prior state
of mind.” Childress, 945 F.2d at 509 (citations omitted). In addition to evidence of the parties’
subjective intent — such as “the parties’ own words or professed state of mind” — courts consider

objective “factual indicia” of how the putative joint authors “regarded [them]selves in relation to

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the work... .” Thomson, 147 F.3d at 201. Such objective “factual indicia” might include
evidence as to which party or parties had “decision[-]making” authority over the work, how the
parties chose to “bill[] and credit” themselves with respect to the work, and what party had the
“right to enter into contracts” with third parties regarding the work. Id. (citing Childress, 945
F.2d at 508-09).

b. Whether the SAC Plausibly Alleges that
Woodward and Trump Were Co-Authors

Here, the SAC does not plausibly allege that Trump and Woodward “fully
intended to be co-authors.” Id. at 200. Indeed, the SAC’s factual allegations are entirely
inconsistent with the notion that Trump and Woodward “intended to be co-authors.”

As to the parties’ subjective intent, the SAC alleges that Woodward has
“consistently claimed, and still maintains, that he is the original and sole author” of The Trump
Tapes. (SAC (Dkt. No. 70) { 63)

As to Plaintiff, the SAC asserts that he never understood or intended that any
audiobook of the interviews or related work would be created, and that he never consented to any
such use of the interviews. According to the SAC, Plaintiff understood that the “interviews were
for the sole purpose of a book. That book, entitled Rage, was released on September 14, 2021.”
(Id. 35 (emphasis in original); see also id. § 42 (stating that “President Trump had consented to
being recorded only for the purposes of ‘the book,’ namely Rage, and never consented to release
of any audio recording, inclusive of the Interview Sound Recordings”); {49 (quoting Trump as
saying, during “Interview 4,” that the interviews were “[flor the book only. . . . Only for the
book.”); id. § 51 (“President Trump told Woodward numerous times that the Interviews were to
be used by Woodward — and Woodward only — for the sole purpose of accurately quoting

President Trump for the ‘written word,’ i.e., Rage, and not for any other purpose. . . .”)) The

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SAC also pleads that “the parties intended that the copyright for any recordings would remain
with President Trump.” (1d. { 49)

In sum, according to the SAC, Plaintiff never agreed, understood, or intended that
the interviews would be used for any purpose other than Woodward’s upcoming book Rage.
There was thus no intention — on Plaintiff’s part — to create a joint work such as The Trump
Tapes, much less that Plaintiff and Woodward would be co-authors of such a work. Indeed,
according to the SAC, Plaintiff never knew that his interview responses would be merged “into a

unitary whole” in the form of The Trump Tapes, and the interviews were released without his

permission. (See also id. { 39 (alleging that Defendants released The Trump Tapes “Tw]ithout

President Trump’s permission”); id. § 38 (“Woodward [alone] decided to . . . releas[e]” the
audiobook); id. § 40 (“Defendants unilaterally proceeded with [the] publication” of the

audiobook); id. §] 53 (Woodward’s “intention” to release The Trump Tapes “arose” after “initially

recording President Trump”))!?

10 The SAC’s joint authorship claim also directly contradicts allegations in the Complaint (Dkt.
No. 1) and the Amended Complaint (Dkt. No. 32), which both state that “President Trump never
sought to create a work of joint authorship...” (Cmplt. (Dkt. No. 1) { 47; Am. Cmplt. (Dkt. No.
32) 9 53 (same)) Indeed, in moving to dismiss the Amended Complaint’s declaratory judgment-
copyright claim, Defendants pointed out that “President Trump disclaims joint authorship.”
(Def. MTD Am. Cmplt. (Dkt. No. 58) at 18; see id. at 19 (“But the issue of joint authorship is not
presented here because the Complaint [and Amended Complaint] disavow[] joint authorship by
stating ‘President Trump never sought to create a work of joint authorship. .. .””) (quoting Am.
Cmplt. (Dkt. No. 32) §53)) Accordingly, in alleging in the SAC that he is “the joint author and
copyright owner in the Interview Sound Recordings, Audiobook, and Derivative Works at issue”
(SAC (Dkt. No. 70) § 65(a)), Plaintiff pleads the exact opposite of what he alleged in his
Complaint and Amended Complaint.

Litigation is not a game, and where — as here — a complaint’s allegations directly contradict
allegations set forth in earlier pleadings, courts may disregard the contradictory allegations in
resolving a motion to dismiss. See, e.g., Colliton v. Cravath, Swaine & Moore LLP, No. 08 Civ.
0400 (NRB), 2008 WL 4386764, at *6 (S.D.N.Y. Sept. 24, 2008) (where a “plaintiff blatantly
changes his statement of the facts in order to respond to the defendant[’s] motion to dismiss...
[and] directly contradicts the facts set forth in his original complaint,” a court may “accept the

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Objective factual indicia in the SAC likewise do not suggest that Woodward and
Trump “fully intended to be co-authors.” Thomson, 147 F.3d at 200.

As to decision-making authority, the Second Circuit has instructed courts to
consider who had “authority over what changes are made [to a work] and what is included in
[the] work.” Id. at 202-03. Here, the SAC states that it was Simon & Schuster and Woodward
who “collate[d] and cobble[d] together more than eight hours of ‘raw’ interview recordings with

President Trump” in order to create The Trump Tapes. (SAC (Dkt. No. 70) { 39) And according

to The Trump Tapes, it was Defendants who “edited out excessive repetition, irrelevant material,

background noise, and unintelligible audio.” (McNamara Decl., Ex. A (Lhe Trump Tapes

paperback) (Dkt. No. 74-1) at 2) Plaintiff, for his part, complains in the SAC that Defendants

published the “Interview Sound Recordings with alteration in the spoken words and removal of

facts described in the original complaint as true”) (internal quotation marks and citation omitted),
aff’d, 356 F, App’x 535 (2d Cir. 2009); Wheeler v. Slanovec, No. 16 Civ. 9065 (KMK), 2019 WL
2994193, at *6 (S.D.N.Y. July 9, 2019) (“In cases ‘where allegations in an amended pleading
“directly contradict” pleadings in the original complaint, courts have disregarded the amended
pleading.’”) (quoting Brooks v. Ist Precinct Police Dep’t, No. 11-CV-6070, 2014 WL 1875037, at
*2 (E.D.N.Y. May 9, 2014)); Dozier v. Deutsche Bank Trust Co. Ams., No. 09-CV-9865, 2011
WL 4058100, at *2 (S.D.N.Y. Sept. 1, 2011) (“[T]he court need not accept as true allegations that
conflict with a plaintiff’s prior allegations.”); Azzarmi v. Sedgwick Claims Mgmt. Servs., Inc.,
No. 20-CV-9155 (KMK), 2025 WL 35003, at *4 (S.D.N.Y. Jan. 6, 2025) (“[I]t is well settled that
a district court may ignore newly asserted facts where ‘a plaintiff blatantly changes his statement
of the facts in order to respond to the defendant’s motion to dismiss and directly contradicts the
facts set forth in his original complaint.’”) (quoting Vasquez v. Reilly, No. 15-CV-9528, 2017 WL
946306, at *3 (S.D.N.Y. Mar. 9, 2017)); cf. Kant v. Columbia Univ., No. 08 CIV. 7476 (PGG),
2010 WL 807442, at *7 (S.D.N.Y. Mar. 9, 2010) (“Courts are free to consider direct
contradictions between earlier pleadings and a proposed amended pleading in determining
whether to grant leave to amend, particularly when the proposed amendments concern facts
clearly within the plaintiffs knowledge when previous complaints were filed.”).

And such treatment is particularly appropriate where the subject matter of the contradictory
allegations — here Plaintiff’s state of mind concerning the joint authorship issue — was clearly
within his knowledge at the time he filed the earlier pleadings.

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context... .” (SAC (Dkt. No. 70) 4 112(c)) In sum, according to the SAC, only Defendants

exercised authority and control over the content of The Trump Tapes.

Defendants also exercised decision-making authority over the creation of The
Trump Tapes. For example, Defendant Woodward initiated the project (see id. {| 35); chose the

questions to ask Trump (McNamara Decl., Ex. A (The Trump Tapes paperback) (Dkt. No. 74-1)

at 417); selected who would be interviewed (id, at 295-310 (interviewing two White House
National Security Advisors)); exercised “discretion” in recording (SAC (Dkt. No. 70) ¥ 48); and
coordinated the work’s publicity and release. (Id. 39) Defendants’ alleged exclusive decision-

making authority and control over the creation of The Trump Tapes weighs against any claim of

joint authorship.

As to how the parties chose to “bill or credit themselves” for the work, Thomson,
147 F.3d at 203, the SAC states that Simon & Schuster “credit[s]” Trump “as a reader on the
Audiobook and the CD,” but lists the work as “By Bob Woodward.” (SAC (Dkt. No. 70) {¥ 43,

55 & fig. 1) Given that the audiobook, the paperback version of The Trump Tapes, and Simon &

Schuster’s promotional material for The Trump Tapes all identify Woodward as the sole author

(see id. at fig. 1; McNamara Decl., Ex. A (The Trump Tapes paperback) (Dkt. No. 74-1) (cover);

McNamara Decl., Ex. B (The Trump Tapes audiobook) (Dkt. No. 74-2) (cover and back cover)),

the identification of Plaintiff as a “reader” does not provide a basis for a joint authorship claim.
See Thomson, 147 F.3d at 204 (defendant’s decision to credit plaintiff as “dramaturg” — a literary
adviser or editor — for disputed work did not constitute evidence that defendant intended to bea
co-author with plaintiff). Finally, and as the SAC alleges, Woodward attributed The Trump

Tapes only to “himself and his publisher,” and did not “acknowledge or cite to President Trump’s

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contributions to the Audiobook and all Derivative Works.” (Id. 479) In sum, the billing and
credit factor weighs against a finding of joint authorship.!!

As to contracts with third parties, the SAC alludes to Woodward’s business
relationship with Defendant Simon & Schuster (see id. at 2 (stating that Simon & Schuster is “a
major publishing company which brings the work of many authors, including Woodward, to
hundreds of countries and territories”); id. { 13 (‘Woodward regularly authors books which
[Simon & Schuster] regularly publishes on a global scale.”); id. 4 25 (“The licenses obtained by
[Simon & Schuster] generally include the right to publish a book in various formats. . . .”; id. {
26 (stating that Woodward has “authored twenty-one books, which have all been published by
[Simon & Schuster]”)), but does not otherwise address any contractual relationship between
them. As to Plaintiff, the SAC does not plead that he entered into any contracts with third parties
regarding the interviews. The Court concludes that this factor is neutral for purposes of the joint
authorship analysis.

Having considered the subjective and objective factors relevant to the issue of
whether the parties intended to be co-authors, the Court finds that the SAC does not plausibly
allege that the parties “fully intended to be co-authors” of a joint work. Thomson, 147 F.3d at
200. Indeed, as discussed above, the SAC alleges the opposite. See 16 Casa Duse, 791 F.3d at

256 (finding that the record “‘establishes that [Casa Duse] . . . never intended to share authorship

'1 While the SAC asserts that “[o]nline sites where the [ajudiobook can be purchased credit
President Trump as author and ‘Narrator,’ recognizing that he has rights in the publication,”
(SAC (Dkt. No. 70) 44 & fig. 2 (attaching screenshot of Barnes & Noble website advertising
The Trump Tapes “by Bob Woodward, Donald J. Trump”)), this allegation is not relevant to the
Court’s analysis. In determining whether parties “fully intended to be co-authors,” Thomson, 147
F.3d at 200, courts look to the intent of each putative co-author. The views of third parties are
irrelevant to that analysis. See id. at 203 (“[Blilling or credit is... a window on the mind of the
party who is responsible for giving the billing or the credit.”) (internal quotation marks omitted).

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of the film with Merkin . . . ,” and ‘[tJhere is also considerable evidence that Merkin never

intended to be [Casa Duse’s] co-author.””) (quoting 16 Casa Duse, LLC v. Merkin, No. 12 CIV.
3492 RIS, 2013 WL 5510770, at *8-9 (S.D.N.Y. Sept. 27, 2013)). Accordingly, to the extent that
Plaintiff’s declaratory judgment-copyright claim is premised on a theory that Woodward and
Plaintiff intended to be joint authors, that claim will be dismissed.

2. Joint Authorship Premised on Copyright Registration

The SAC pleads that “the United States Copyright Office has registered Mr.

Trump and Defendant Mr. Woodward as co-authors, Le., co-claimants, of [The Trump Tapes].”

(SAC (Dkt. No. 70) { 57) And in opposing Defendants’ motion to dismiss his declaratory
judgment-copyright claim, Plaintiff argues that this copyright registration “creates a rebuttable
presumption [of joint authorship]” sufficient to defeat a motion to dismiss. (Pltf. Opp. (Dkt. No.
77) at 17)

a. Applicable Law

A copyright registration does not create any substantive ownership rights in a
registrant. A registration merely constitutes evidence of ownership rights. See Blue Planet

Software, Inc. v. Games Int’l, LLC, 334 F. Supp. 2d 425, 436 (S.D.N.Y. 2004) (“[W]hile

registrations may be prima facie evidence of ownership, the mere fact that a party registers its
copyrights or trademark rights does not create substantive ownership rights in the registrant.
Rather, substantive copyrights spring to life at the moment of the genesis of the creative work
and attach to the creator or author immediately. .. . Accordingly, registrations merely offer
evidence of ownership, and that showing need not be dispositive of the matter if contrary proof is

available.”); Chere Amie, Inc. v. Windstar Apparel, Corp., 191 F. Supp. 2d 343, 350 (S.D.N.Y.

2001) (“Copyright exists automatically upon the creation and fixation of an original work of

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authorship in a tangible medium of expression. See 17 U.S.C. 102(a). The Copyright Office does
not grant copyrights.”).

As a general matter, “[a] certificate of registration from the United States Register
of Copyrights constitutes prima facie evidence of the valid ownership of a copyright, although

that presumption of ownership may be rebutted.” Hamil Am. Inc. v. GFI, 193 F.3d 92, 98 (2d Cir.

1999); see also 17 U.S.C. § 410(c) (“In any judicial proceedings the certificate of a registration
made before or within five years after first publication of the work shall constitute prima facie
evidence of the validity of the copyright and of the facts stated in the certificate. The evidentiary
weight to be accorded the certificate of a registration made thereafter shall be within the
discretion of the court.”).

The presumption of ownership accompanying a copyright registration may be
rebutted by, inter alia, evidence that the registrant is not an author of the work, or has otherwise

failed to substantiate his, her, or its registration. See, e.g., Shah v. NYP Holdings, Inc., No. 21-

CV-06148, 2023 WL 266511, at *3 (N.D. Ill. Jan. 18, 2023) (presumption of valid copyright
ownership was overcome on Rule 12(b)(6) motion because plaintiff’s “allegations fail to reveal
any intent... to be joint authors”), aff’d, No. 23-1127, 2024 WL 3825220 (7th Cir. Aug. 15,

2024); McLaren v. Chico’s FAS, Inc., No. 10 CIV. 2481 JSR, 2010 WL 4615772, at *4 (S.D.N.Y.

Noy. 9, 2010) (ruling, on a motion to dismiss, that defendant “rebutted [the presumption of valid

ownership] by showing that the registration is invalid as a matter of law”); see also Medforms,

Inc. v. Healthcare Mgmt. Solutions, Inc., 290 F.3d 98, 109 (2d Cir. 2002) (upholding jury

determination that copyright registrations were invalid because registrant was not an author of

the registered works); Murphy v. Murphy, No. 20-CV-2388-JRC, 2025 WL 963999, at *6

(E.D.N.Y. Mar. 30, 2025) (finding, at summary judgment, that “defendant has come forward with

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sufficient evidence to rebut the presumption that the plaintiff is the author of the copyrighted

works”); Pan v. Kohl’s Dep’t Stores, Inc., No. 2:12-CV-1063, 2016 WL 1270665, at *5 (S.D. Ohio
Mar. 31, 2016) (Ruling, at summary judgment, that defendants “have successfully rebutted the
presumption of the validity of Plaintiff’s copyright by proving that Plaintiff is not the author of
the work. If Plaintiff is not the author of the work, Plaintiff has no valid copyright. If Plaintiff
has no valid copyright, Plaintiff has no standing to sue.”)

Moreover — and consistent with the November 30, 2023 U.S. Copyright Office
letter quoted above — where parties submit conflicting or adverse copyright registration
applications, the Copyright Office does not sit as a tribunal resolving those competing claims.

See Martha Graham Sch. & Dance Found., Inc. v. Martha Graham Ctr, of Contemporary Dance,

Inc., 224 F.Supp.2d 567, 586 (S.D.N.Y. 2002) (“*The Copyright Office is an office of record and
it does not have the authority to adjudicate adverse or conflicting claims submitted for
registration. Each claim is examined to determine if it complies with statutory and regulatory
requirements; if it does, it is registered. When conflicting claims are received, the Office may
put both claims on record if each is acceptable on its own merits. It is the responsibility of the
parties involved in a dispute to pursue their rights in their works.””) (quoting Copyright Office

correspondence), vacated in part on other grounds, 380 F.3d 624 (2d Cir. 2004); see also Est. of

Burne Hogarth v. Edgar Rice Burroughs, Inc., 342 F.3d 149, 167 (2d Cir. 2003) (noting that the

Copyright Office “‘will register adverse claims by more than one party,” which is “‘not
unusual’”) (quoting Copyright Office correspondence).

Where — as here — a court is faced with conflicting or adverse copyright
registrations, it must make an independent determination as to ownership, and may conclude that

no competing registration has prima facie validity. Faulkner v. Nat’l Geographic Soc’y, 21] F.

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Supp. 2d 450, 462 (S.D.N.Y. 2002) (noting that “the district court makes an independent
determination of copyright ownership,” and that the Copyright Office’s registration decision “is

not conclusive on the district court”); Martha Graham Sch. & Dance Found., 224 F.Supp.2d at

586 (“Neither side is entitled to a presumption of copyright validity for those competing

certificates of registration.”), vacated in part on other grounds, 380 F.3d 624 (2d Cir. 2004);

Peterson v. Kolodin, No. 13 CIV. 793 JSR, 2013 WL 5226114, at *5 (S.D.N.Y. Sept. 10, 2013)

(“{T]he Court concludes that any [] evidentiary weight that might be due one registration is
counterbalanced by the other, leaving no presumption on either side.”); see also 5 Patry on
Copyright § 17:120 (“Where both registrations were obtained contemporaneously, and especially
in contemplation of litigation[,] neither certificate should be granted prima facie status.”); 3-12
Nimmer on Copyright § 12.11[B][i] (“It might be argued that plaintiff’s and defendant’s
certificates cancel each other out with respect to either party’s right to claim a prima facie
presumption. ...”).

And contrary to Plaintiff’s assertions (see Pltf. Opp. (Dkt. No. 77) at 16-17), it is
appropriate for a court to determine on a motion to dismiss what weight to give a copyright
registration. See McLaren, 2010 WL 4615772, at *4 (concluding on a motion to dismiss that the
presumption of validity that attaches to a copyright registration was overcome by allegations in
the complaint that “some of the illustrations” in the collection for which plaintiff received a

copyright registration had previously been published); MMS Trading Co. Pty Ltd. v. Hutton

Toys, LLC, No. 20-CV-1360 (MKB), 2021 WL 1193947, at *7 (E.D.N.Y. Mar. 29, 2021)
(concluding on a motion to dismiss an action alleging copyright invalidity and noninfringement
that plaintiff had plausibly alleged “that the subject matter of [d]efendant’s copyright registration

lacks the originality required to warrant copyright protection”).

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b. Analysis

As discussed above, Plaintiff contends that Defendants’ motion to dismiss his
declaratory judgment-copyright claim should be denied on the basis of the February 28, 2023
copyright registration he obtained, which designates Plaintiff and Woodward as joint authors of
“The Trump Tapes.” (See Pltf. Opp. (Dkt. No. 77) at 17; see also SAC (Dkt. No. 70) at 3, 94 57,
62; id., Ex. A) The Court concludes that this copyright registration is not sufficient to plausibly
allege joint authorship.

As discussed above, while a copyright registration may constitute prima facie
evidence of ownership, where there are conflicting and adverse copyright registrations, the
Copyright Office does not resolve the competing claims, and courts are called upon to make “an
independent determination of copyright ownership.” Faulkner, 211 F. Supp. 2d at 462.

Here, for the reasons explained above, the representation in the February 28, 2023

copyright registration that Plaintiff and Woodward are joint authors of The Trump Tapes is

contradicted by the SAC’s allegations, which make clear that Plaintiff and Woodward did not
“fully intend[] to be co-authors,” and indeed had no intention of being co-authors. Thomson, 147
F.3d at 200; see also id. at 201 (noting “requirement of mutual intent” for any claim of co-
authorship). Accordingly, the February 28, 2023 copyright registration naming Plaintiff and
Woodward as joint authors does not alter this Court’s determination that the SAC does not
plausibly allege joint authorship.
* * * *
The SAC does not plausibly allege that Woodward and Trump intended to be joint

authors of The Trump Tapes. Accordingly, to the extent that Plaintiff seeks a declaration that he

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has a copyright interest in The Trump Tapes premised on a theory of joint authorship, his

declaratory judgment-copyright claim will be dismissed.

3. Claimed Copyright Interest in Interview Responses

Failing a declaration that he is a joint author and copyright owner of The Trump
Tapes, Plaintiff seeks a declaration that he “has a copyright interest in his responses” to
Woodward’s questions during the interviews. (SAC (Dkt. No. 70) [ 65(b)) In arguing that any
such claim must be dismissed, Defendants contend that Trump’s interview responses do not
constitute a “work of authorship” protected by copyright law. (Def. Br. (Dkt. No. 73) at 26-30)

a. Case Law Precedent

Interviewees seeking to assert a copyright interest in their stand-alone responses
to an interviewer’s questions have generally not prevailed, although the rationales courts have
used for rejecting these claims have varied, and the reasoning has not always been entirely
sound,

Certain courts have concluded that an interviewee is not entitled to copyright
protection because an interviewee is not an “author” who “fixe[s]” a work into “a tangible
medium of expression.”

The Supreme Court has instructed that, under the Copyright Act, “the author is the
party who actually creates the work, that is, the person who translates an idea into a fixed,
tangible expression entitled to copyright protection.” Reid, 490 U.S. at 737. And, as discussed
above, the Copyright Act protects “original works of authorship fixed in any tangible medium of
expression,” including “literary works” and “sound recordings.” 17 U.S.C. § 102(a).

As stated previously, under the Copyright Act

[a] work is “fixed” in a tangible medium of expression when its embodiment in a
copy or phonorecord, by or under the authority of the author, is sufficiently

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permanent or stable to permit it to be perceived, reproduced, or otherwise
communicated for a period of more than transitory duration.

17 U.S.C, § 101.

Applying this statutory language, the court in McGillvary v. Netflix, Inc., No.
2:23-CV-01195-JLS-SK, 2024 WL 3588043 (C.D. Cal. July 30, 2024), concluded that the
plaintiff interviewee did not own a copyright in interviews he gave to a television station — in
which he described assaulting a motorist who had hit a pedestrian — because it was the television
station’s employees who “fixed” the plaintiff’s interviews by “recording him using [equipment]
controlled[] and operated [by the station.]” Id. at *7.

Similarly, in Taggart v. WMAQ Channel 5 Chicago, No. CIV.A. 00-4205-GPM,

2000 WL 1923322 (S.D. Ill. Oct. 30, 2000), the court considered a copyright claim brought by a
prison inmate who had given an interview to a television reporter. Plaintiff complained, inter
alia, that portions of the interview had later been broadcast in violation of conditions he had
placed on its use. In rejecting the inmate’s copyright claim, the court noted that

“Tt]o qualify as an author, one must supply more than mere direction or ideas. An
author is the party who actually creates the work, that is, the person who translates
an idea into a fixed, tangible expression entitled to copyright protection.’”
Eri[c]kson v. Trinity Theater, Inc., 13 F.3d 1061, 1071 (7th Cir. 1994) (citing
Community for Creative Non-Violence v. Reid, 490 U.S. 730, 737, 109 S.Ct. 2166,
104 L.Ed.2d 811 (1989)). Therefore, if anyone was the “author,” it may very well
have been the cameraman who fixed the ideas into a tangible expression, the
videotape.

Id. at *4 (first alteration in original); cf. Garcia v. Google, Inc., 786 F.3d 733, 743 (9th Cir. 2015)

(en banc) (holding that actor had no copyright interest in her film performance because “[s|he
never fixed her acting performance in a tangible medium”’).
In rejecting copyright claims from interviewees, other courts have concluded that

an interviewee’s stand-alone responses to questions are uncopyrightable ideas. For example, in

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Falwell v. Penthouse Int’l, Ltd., 521 F. Supp. 1204 (W.D. Va. 1981), the Reverend Jerry Falwell

claimed a common law copyright interest in an interview he had given to magazine reporters. As
here, Falwell contended that the interview appeared without his consent and violated oral
conditions he had set at the time of the interview. Id. at 1206. In rejecting Falwell’s copyright
claim, the court concluded that it was

not founded on any existing principle of law, nor is it even analogous to any of the
circumstances which heretofore have been contemplated by the courts. Plaintiff's
claim of copyright presupposes that every utterance he makes is a valuable
property right. If this were true, the courts would be inundated with claims from
celebrities and public figures all of whom may argue that their expressions should
also be afforded the extraordinary protection of copyright. Such a result was
never contemplated by the development of the law... .

Plaintiff cannot seriously contend that each of his responses in the published
interview setting forth his ideas and opinions is a product of his intellectual labors
which should be recognized as a literary or even intellectual creation. There is
nothing concrete which distinguishes his particular expression of his ideas from
the ordinary. Although it is sometimes difficult to differentiate, the expression of
ideas is a separate and distinct concept from that of the ideas themselves. As
stated in Nimmer, The Law of Copyright, Vol. I, Sec. 2.02 at pp. 2-19 (1980):

It is a fundamental precept of copyright that only the expression of ideas,
and not the ideas themselves, are copyrightable.

However different or unique plaintiff’s thoughts or opinions may be, the
expression of those opinions or thoughts is too general and abstract to rise to the
level of a literary or intellectual creation that may enjoy the protection of
copyright. Although the general subject matter of the interview may have been
outlined in the reporters’ minds prior to their meeting with plaintiff, the actual
dialogue, including the unprepared responses of plaintiff, was spontaneous and
proceeded in a question and answer format. There is no defined segregation,
either by design or by implication of any of plaintiffs expressions of his thoughts
and opinions on the subjects discussed which would aid in identifying plaintiff’s
purported copyrighted material.

Id. at 1207-08. 1?

2 In suggesting that copyright protection for Falwell’s remarks should be denied because they
do not “tise to the level of a literary or intellectual creation” worthy of such protection, the
Falwell court appears to make a value judgment that courts have generally sought to avoid in the

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Similarly, in Taggart, the court found that the inmate’s responses to the reporter’s
questions were not copyrightable, because his responses were

not an expression of an idea for the purpose of copyright law, they [were] simply
an idea, and thus not subject to copyright protection. See Feist Publications, Inc.
vy. Rural Tel. Serv. Co., 499 U.S. 340, 344-45, 111 $.Ct. 1282, 113 L.Ed.2d 358
(1991). See also, Falwell, 521 F.Supp. at 1208. Plaintiff’s reading of copyright law
to protect his interview comments with WMAQ as a work of authorship conflicts
with the “most fundamental axiom of copyright law [that no] author may
copyright his ideas or the facts he narrates.” Feist, 499 U.S. at 344-345. The
ambit of materials to which copyright protection extends does not include “ideas
which are not protected under the Copyright Act.” Erickson, 13 F.3d at 1071; see
also 17 U.S.C. § 102(b) (“In no case does copyright protection for an original work
of authorship extend to any idea... embodied in such a work.”). Affording such
protection would make each vocalization a piece of property that is afforded the
formidable protection of copyright law. Furthermore, affording such protection to
materials gathered in the daily task of the news reporter would essentially bring
the industry to a halt.

Taggart, 2000 WL 1923322, at *4 (second alteration in original).

b. Analysis

In the SAC, Plaintiff seeks a declaration that he has a copyright interest in his

stand-alone responses to Woodward’s questions as presented in The Trump Tapes. (SAC (DI.

copyright context. See, e.g., Andy Warhol Found. for the Visual Arts, Inc. v. Goldsmith, 598
U.S. 508, 544 (2023) (“A court should not attempt to evaluate the artistic significance of a
particular work.”); Bleistein v. Donaldson Lithographing Co., 188 U.S. 239, 251 (1903) (Holmes,
J.) (“It would be a dangerous undertaking for persons trained only to the law to constitute
themselves final judges of the worth of [a work], outside of the narrowest and most obvious
limits”); Wade Williams Distribution, Inc. v. Am. Broad. Co., No. 00 CIV. 5002 (LMM), 2005
WL 774275, at *9 (S.D.N.Y. Apr. 5, 2005) (“Courts have consistently and prudently avoided
subjective judgments in copyright cases. .. .”).

13 The Taggart court also says that the plaintiff inmate’s “comments during the interview were
unprepared and spontaneous responses” that do “not rise to the level of a literary or intellectual
creation that enjoys the protection of the copyright law.” Id. at *5. But nothing in the Copyright
Act suggests that only statements that are the product of careful thought and preparation are
entitled to protection. Indeed, the Second Circuit has stated that a work of art that is the result of
mistake, inadvertence, a sudden loud noise, or the artist’s physical defect or condition may
nonetheless be entitled to copyright protection. See Alfred Bell & Co. v. Catalda Fine Arts, Inc.,
191 F.2d 99, 104-05 (2d Cir. 1951).

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No. 70) § 65(b)) As explained below, the Court concludes that the SAC does not plausibly allege
any such interest because (1) Plaintiff does not plead that he “fixed” his answers into “a tangible
medium of expression,” or that such fixation occurred “under [his] authority”; and (2) his
responses to Woodward’s questions do not themselves constitute a work of authorship entitled to
copyright protection.
i. Whether the SAC Plausibly Alleges that
Plaintiff Fixed his Responses to Interview

Questions in a “Tangible Medium of Expression”
or that Such Was Done Under His Authority

As discussed above, a copyrightable work “is ‘fixed’ in a tangible medium of
expression when its embodiment in a copy or phonorecord, by or under the authority of the
author, is sufficiently permanent or stable to permit it to be perceived, reproduced, or otherwise
communicated for a period of more than transitory duration.” 17 U.S.C. § 101; see also EMI

Christian Music Grp., Inc. v. MP3tunes, LLC, 844 F.3d 79, 87 n.3 (2d Cir. 2016). A person who

does not “fix” the work “in a tangible medium of expression” is therefore generally not regarded
as an “author” of the work entitled to seek copyright protection. See Reid, 490 U.S. at 737 (“As
a general rule, the author is the party who actually creates the work, that is, the person who
translates an idea into a fixed, tangible expression entitled to copyright protection.”); see also 16
Casa Duse, 791 F.3d at 258 (“[O]riginality and fixation are necessary prerequisites to obtaining
copyright protection, see 17 U.S.C. § 102(a)”; “[a]uthors are not entitled to copyright protection
except for the ‘works of authorship’ they create and fix”).

Here, Woodward recorded the interviews at issue (see SAC (Dkt. No. 70) | 48
(alleging that Woodward said, “I’m going to turn on my recorder”); id. | 53 (referring to

Woodward “recording President Trump”)), and thereby fixed the interviews in a “tangible

medium of expression.” See McGillvary, 2024 WL 3588043, at *7 (television station’s

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“employees ‘fixed’ McGillvary’s performances — recording him using [station] controlled-and
operated-equipment”); Swatch Group, 808 F. Supp. 2d at 636 (holding that plaintiff's “audio
recording of the [earnings] call satisfies the requirement of fixation [for purposes of the
Copyright Act]”); Taggart, 2000 WL 1923322, at *4 (stating that “it may have very well been the
cameraman who fixed the ideas into a tangible expression, [that being] the videotape”); see also

Mary Catherine Amerine, Wrestling Over Republication Rights: Who Owns the Copyright of

Interviews, 21 Marg. Intell. Prop. L. Rev. 159, 163 n.22 (2017) (hereinafter “Amerine”) (“The
requirement of fixation for [copyright] protection is also met by the journalists’ authorized
recording of the interview in various mediums.”).

Plaintiff — for his part — does not allege in the SAC or assert in briefing that he
played any role in “fixing” the interviews into “a tangible medium of expression,” and does not
respond to Defendants’ argument that the “author” — for purposes of copyright law — is “‘the
person who translates an idea into a fixed, tangible expression.’” (Def. Br. (Dkt. No. 73) at 26-27
(quoting Reid, 490 U.S. at 737) (emphasis omitted)) As discussed above, courts have rejected
interviewees’ copyright claims where the interviewee played no part in fixing the interview in a
“tangible medium of expression.” See McGillvary, 2024 WL 3588043, at *7 (dismissing
interviewee’s copyright claim where television station’s employees recorded the interview,
thereby “fix[ing]” the interview for purposes of copyright law); Taggart, 2000 WL 1923322, at *4
(rejecting interviewee’s copyright claim and finding that it was a television station “cameraman
who fixed the ideas into a tangible expression”); see also Garcia, 786 F.3d at 743-44 (holding that
an actor had no copyright interest in her film performance because “[s]he never fixed her acting

performance in a tangible medium”).

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Fixation can, of course, occur “under the authority of the author,” 17 U.S.C.

§ 101, even where the author does not personally perform the act of fixation. See, e.g., Mourabit

v. Klein, 816 F. App’x 574, 576-79 (2d Cir. 2020) (plaintiff Mourabit “‘d[id] the make up
artistry’” for a magazine’s photo shoot while defendant Klein was the photographer for the photo
shoot; plaintiff alleged that defendants wrongfully used one of Klein’s photos without crediting
plaintiff for a model’s makeup; seeking to avoid Copyright Act preemption, plaintiff argued that
his “makeup artistry” was not “fixed in a tangible medium of expression”; court held that the
“makeup artistry” was “fixed” in Klein’s photograph; “[a]lthough Klein, not Mourabit, took the
[p]hotograph, that fact is of no import here because a work of authorship may be fixed ‘by or

under the authority of the author,’” and Mourabit “plainly consented to the photographing of his

work by Klein: after all, creating such a [p]hotograph was the goal of the [p]hoto [s]hoot”)

(emphasis in Mourabit) (citing Baltimore Orioles, Inc. v. Major League Baseball Players Ass’n,
805 F.2d 663, 675 n.22 (7th Cir. 1986) (observing that a work may be fixed in tangible form by
someone other than the author when the author knowingly consents to the fixation); see also 1
Nimmer on Copyright § 2.03 (an author’s “voluntar[y] participat[ion]” in the fixation of his or

her work constitutes “fixation taking place under the author’s ‘authority’”)); Medforms, Inc., 290

F.3d at 107 (“[A]n ‘author’ can authorize another to ‘fix’ his original idea.”); see also Andrien v.

S. Ocean Cnty. Chamber of Com., 927 F.2d 132, 135 (3d Cir. 1991) (“Poets, essayists, novelists,

and the like may have copyrights even if they do not run the printing presses or process the
photographic plates necessary to fix the writings into book form. These writers are entitled to
copyright protection even if they do not perform with their own hands the mechanical tasks of

putting the material into the form distributed to the public.”).

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Here, the SAC pleads that Plaintiff consented to Woodward’s recording of the
interviews (SAC (Dkt. No. 70) §§ 35, 42, 46-51), whereby the interviews were “‘fixed’ ina
tangible medium of expression” for purposes of the Copyright Act. McGillvary, 2024 WL
3588043, at *7 (interview “fixed” by recording it); Taggart, 2000 WL 1923322, at *4 (interview
“fixed” when cameraman videotaped it), Such consent does not mean that fixation occurred

“under the authority of [Plaintiff],” however, given the SAC’s allegations. Garcia v. Google,

Inc., 786 F.3d 733 (9th Cir. 2015) (en banc) is instructive on this point.
In Garcia, the Ninth Circuit — sitting en banc — considered an actress’s claim that
she had a standalone copyright interest in that portion of a film in which she appeared. Garcia

had responded to a casting call for a film entitled Desert Warrior, and was cast in a cameo role.

Desert Warrior was never released, but the director used a portion of the film — including the

snippet in which Garcia appeared — for “an anti-Islam polemic renamed Innocence of Muslims.”

That film portrays the Prophet Mohammed as “a murderer, pedophile, and homosexual.” Garcia,

786 F.3d at 736-37. The director “uploaded . . . a trailer of Innocence of Muslims to YouTube,

the video-sharing website owned by Google.” “[T]he film fomented outrage across the Middle
East .. . [and was] linked to numerous violent protests. .. . Garcia received multiple death
threats.” After failing to persuade Google to take down the film, Garcia brought a copyright
infringement claim against Google and the director, seeking a temporary restraining order and

preliminary injunction requiring Google not to host Innocence of Muslims. The district court

denied her application for injunctive relief, but a divided panel of the Ninth Circuit reversed.
The court then granted rehearing en banc. Id. at 737-39.
The en banc court concluded that Garcia had not shown a likelihood of success on

her copyright claim. In particular, the court found that “the law does not clearly favor Garcia’s

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position” as to whether she or someone under her authority had “‘fixed [her performance in the
film] in [a] tangible medium of expression.’” (Id. at 741 (quoting 17 U.S.C. §§ 101, 102(a)) In

this regard, the en banc court noted that Garcia

never fixed her acting performance in a tangible medium, as required by 17 U.S.C. § 101
(“A work is ‘fixed’ in a tangible medium of expression when its embodiment in a copy or
phonorecord, by or under the authority of the author, is sufficiently permanent or stable to
permit it to be perceived, reproduced, or otherwise communicated for a period of more
than transitory duration.”) (emphasis added). According to the Supreme Court, “the
author is the party who actually creates the work, that is, the person who translates an
idea into a fixed, tangible expression entitled to copyright protection.” Cmty. for
Creative Non-Violence v. Reid, 490 U.S. 730, 737, 109 S.Ct. 2166, 104 L.Ed.2d 811
(1989). Garcia did nothing of the sort.

For better or for worse, [the director] and his crew “fixed” Garcia’s performance in the
tangible medium, whether in physical film or in digital form. However one might
characterize Garcia's performance, she played no role in fixation. On top of this, Garcia
claims that she never agreed to the film’s ultimate rendition or how she was portrayed in
Innocence of Muslims, so she can hardly argue that the film or her cameo in it was fixed
“by or under [her] authority.” 17 U.S.C. § 101.

Id. at 743-44 (footnote omitted). The en banc court went on to affirm the district judge’s denial
of Garcia’s motion for a preliminary injunction. (Id. at 744, 747)

As to the “fixed in a medium of tangible expression” issue, the facts here are
analogous to those in Garcia. As with Garcia, Plaintiff has not alleged or argued that he played
any role in the fixation of the works at issue. (See SAC (Dkt. No. 70) {J 35, 48, 53 (alleging that
Woodward performed the recording))

And like Garcia — who consented to be filmed, see Garcia, 786 F.3d at 736 —
Plaintiff “consented to being recorded.” (SAC (Dkt. No. 70) { 42)

And like Garcia, Plaintiff claims that Defendants used the work at issue for a
purpose to which he had not consented. As to Garcia, she consented to appear for a cameo in the

film Desert Warrior, but the defendant director used her cameo in Innocence of Muslims, a use to

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which she had not consented. Trump, for his part, says that while he consented to the recording
of the interviews for purposes of Woodward’s upcoming book Rage, Woodward — the party who
“fixed” the interviews in “a medium of tangible expression” — used the recordings for a purpose
to which he had not consented. (Id.)

In Garcia, the en bane Ninth Circuit concluded that Garcia’s performance — while
“fixed” in the film recording her cameo — had not been fixed under her authority, because “she

never agreed to the film’s ultimate rendition or how she was portrayed” in the film. Garcia, 786

F.3d at 744. Similarly here, Plaintiff claims that he never agreed to the interview recordings’

“ultimate rendition” — The Trump Tapes in all its forms — or to how he is portrayed in the

recordings. (SAC (Dkt. No. 70) 4 42; id.  112(c) (alleging that in The Trump Tapes the

interviews are presented “with alteration in the spoken words and removal of context,” and that
this was done “to cast a poor light on President Trump and to mislead and deceive other
customers into viewing him in a poor light”)

Under Garcia, however, where the fixation of a work is “‘in derogation of [a
party’s] permission,” the fixation is not done “under the authority” of that party. Del Rio v.

Virgin America, Inc., 2018 WL 5099720, at *6 (C.D. CA June 28, 2018) (quoting Nimmer on

Copyright § 2.13[B][3] (2018)); see also Mourabit, 816 F. App’x. at 579 (consent sufficient for
fixation under plaintiff's authority where the “fixed” work —a photograph of plaintiffs “makeup
artistry” — was consistent with “the goal” of the photo shoot to which plaintiff had consented).

In sum, the SAC does not plausibly allege either that Plaintiff fixed his interview
responses in a “tangible medium of expression” or that such was done under his authority. As to
the latter, the SAC pleads that Plaintiff did not consent to the “ultimate rendition” of his

interview responses — given that he did not consent to the release of The Trump Tapes in any

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form (see SAC (Dkt. No. 70) 4 42) — and did not consent to how he would be portrayed in these
works, (See id. § 112(c)) Because the SAC alleges that the fixation of the interviews was in
derogation of Plaintiff's permission, the interviews were not “fixed” under Plaintiff's authority.
Accordingly, the SAC does not plausibly allege that Plaintiff has a copyright interest in his
responses to Woodward’s questions.

ii. Whether Plaintiff’s Stand-Alone Responses to Interview
Questions are Subject to Copyright Protection

Although Plaintiff played no role in “fixing” either Woodward’s questions or his
answers to Woodward’s questions, he contends that he has a copyright interest in his stand-alone
responses to Woodward’s questions. (Pltf. Opp. (Dkt. No. 77) at 20)

Woodward’s interviews of Trump are, of course, a collaborative exercise:
Woodward asked questions, and Plaintiff provided answers. But the fact that the interviews
required Plaintiff’s active cooperation and participation does not mean that he automatically is
entitled to a copyright interest in his responses to Woodward’s questions. Indeed, courts have
repeatedly held that the fact that someone has made meaningful contributions to a work does not
mean that they have a copyright interest in that work. Moreover, and as discussed above, there is
almost no support in the case law for the notion that an interviewee has a copyright interest in his
responses to interview questions, and such a conclusion would run counter to animating
principles of the Copyright Act.

The Constitution gives Congress the power to “promote the Progress of Science
and useful Arts” through copyright law. U.S. Const. Art. 1, § 8, cl. 8. The Second Circuit has
stated that the “‘principal purpose’ of the Copyright Act. . . is “to encourage the origination of
creative works by attaching enforceable property rights to them.’” Davis v. Blige, 505 F.3d 90,

105 (2d Cir. 2007) (quoting Diamond v. Am-Law Publ’g Corp., 745 F.2d 142, 147 (2d Cir. 1984));

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see also Veeck v. S. Bldg. Code Congress Int’] Inc., 241 F.3d 398, 402 (Sth Cir. 2001) (“The core

purpose of copyright law is ‘to secure a fair return for an author’s creative labor’ and thereby ‘to

stimulate artistic creativity for the general public good.””) (quoting Twentieth Century Music

Corp. v. Aiken, 422 U.S. 151, 156 (1975)); Fox Film Corp. v. Doyal, 286 U.S. 123, 127 (1932)

(“The sole interest of the United States and the primary object in conferring the monopoly [that
copyright affords] lie[s] in the general benefits derived by the public from the labors of

authors.”); Salinger v. Colting, 607 F.3d 68, 82 (2d Cir. 2010) (“The object of copyright law is to

promote the store of knowledge available to the public.”). Courts have been hesitant to adopt
interpretations of copyright law that could “threaten to stifle creativity,” thus “yndermin[ing]”

these purposes. Structured Asset Sales, LLC v. Sheeran, 120 F.4th 1066, 1081 (2d Cir. 2024); see

also BWP Media USA Ine. v. Polyvore, Inc., 922 F.3d 42, 66 (2d Cir. 2019) (Newman, J.,

concurring) (“[C]opyright law... must avoid . . . an expansive regime of protection [where
authors] are unduly deterred from making socially useful contributions to widespread access to
information.”’).

One commentator has pointed out that

_.. splitting an interview into two separately copyrightable parts [- questions and
answers —| does not comply with the incentive-based theory of the purpose of the
copyright law. The Copyright Clause of the Constitution establishes the purpose
of the copyright law as “promot[ing] the Progress of Science,” through what has
been widely understood as economic incentivization. As Richard Posner writes,
copyright protection “trades off the costs of limiting access to a work against the
benefits of providing incentives to create the work in the first place.” .. . By
splitting the copyright interest in an interview into two parts, neither of which
alone is commercially valuable as a stand-alone work, the interviewer’s work is
essentially stripped of value, forcing potentially costly negotiations with the
interviewee in order for the journalist to utilize the interview, which cuts against
the central goal of copyright law.

Amerine, 21 Marq. Intell. Prop. L. Rev. at 173 (footnotes omitted).

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Where multiple parties claim a copyright interest in the same work, the Second
Circuit has traditionally applied the joint authorship intent analysis discussed above.!* In
conducting that analysis, the court has made clear that even where a party makes useful
contributions to a work — whether as an editor, as a researcher, or in some other capacity — that
party does not necessarily “enjoy[] an undivided half interest in the copyright in the published
work,” even where there was an intent that “their contributions [would] be merged into
inseparable parts of a unitary whole.” Childress, 945 F.2d at 507; see id. 504 (“Care must be
taken... to guard against the risk that a sole author is denied exclusive authorship status simply
because another person render[s] some form of assistance.”); see also Thomson, 147 F.3d at 198
n.10, 205 (putative co-author’s claim to have “developed [a play’s] plot and theme, contributed
extensively to the story, created many character elements, [and written] a significant portion of
the dialogue and song lyrics” did not render her a joint author of play).

The Second Circuit’s decision in 16 Casa Duse, LLC v. Merkin, 791 F.3d 247 (2d

Cir, 2015) is instructive on the issue of whether Trump’s responses can be stripped out from the
interviews and separately afforded copyright protection.

In that case, the Second Circuit considered a dispute between 16 Casa Duse — a
film production company — and Alex Merkin, who plaintiff had hired to direct a film. Id, at 251.
Although the parties never entered into a formal agreement governing Merkin’s work, filming
was completed, and plaintiff gave Merkin a hard drive containing the raw film footage “in the
hope that Merkin would be able to edit the footage.” Id. at 251-52. Negotiations between the

parties concerning Merkin’s agreement later collapsed, and the parties began to dispute whether

14 As noted earlier, the SAC does not plausibly allege that Woodward and Trump intended to be
joint authors for purposes of The Trump Tapes.

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Merkin owned a copyright interest in the raw film footage and in any final film. Merkin then
registered a copyright in the raw film footage as its sole author. Id. at 252-53. 16 Casa Duse later
sued Merkin seeking, inter alia, a declaration that (1) Merkin had no copyright interest in the final
film — for which plaintiff had retained a different editor; and (2) Merkin’s copyright interest in
the raw film footage was invalid. Id. at 253.
The Second Circuit held that — despite Merkin’s highly significant creative

contributions as the film’s director — he did not have a copyright interest in the completed film:

We have never decided whether an individual’s non-de minimis creative

contributions to a work in which copyright protection subsists, such as a film, fall

within the subject matter of copyright, when the contributions are inseparable

from the work and the individual is neither the sole nor a joint author of the work

and is not a party to a work-for-hire arrangement. See Thomson, 147 F.3d at 206

(acknowledging open question and resolving case on alternative grounds). We

answer that question in the negative on the facts of the present case, finding that

the Copyright Act’s terms, structure, and history support the conclusion that

Merkin’s contributions to the film do not themselves constitute a “work of

authorship” amenable to copyright protection.
Id. at 256. The court went on to hold that “inseparable contributions integrated into a single
work cannot separately obtain [copyright] protection.” Id. at 257."

Applying 16 Casa Duse here, the Court finds that Plaintiff “is neither the sole nor

a joint author of [The Trump Tapes] and is not a party to a work-for-hire arrangement.” Id. at

256. The Court further finds that Plaintiff made non-de minimis contributions to The Trump
Tapes — which is “a work in which copyright protection subsists” — but that his “contributions are
inseparable from the work.” Id. Because Plaintiff’s “inseparable contributions [were] integrated

into a single work,” they “cannot separately obtain [copyright] protection.” Id. at 257.

'5 In go holding, the Second Circuit noted that that “[i]f copyright subsisted separately in each
... contribution[] to the completed film, the copyright in the film itself, which is recognized by
statute as a work of authorship, could be undermined by any number of individual claims.” Id. at
258.

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In reaching this result, the Court acknowledges that a series of interviews are
quite different from the film at issue in 16 Casa Duse. The Court nonetheless views the question
and answer interview format as something that — like the film in 16 Casa Duse — must be viewed
as a “unified work, rather than [as a series of] individual statements.” Amerine, 21 Marq. Intell.
Prop. L. Rev. at 181. Stripping out the answers from an interviewer’s questions is not only
inconsistent with the animating principles of the Copyright Act; it also ignores the fundamental
reality that an interview is a unified, integrated work and not a collection of disjointed and
unrelated random thoughts and phrases.!°

Plaintiff’s responses and Woodward’s questions have “little or no independent
meaning standing alone,” Childress, 945 F.2d at 505, and thus the interviews reflecting their
exchanges must be treated as what they are: a unified, integrated work. And because Plaintiff’s
contributions to that unified integrated work “are inseparable from the work,” they “cannot
separately obtain [copyright] protection.” 16 Casa Duse, 791 F.3d at 257.

Plaintiff argues, however, that the Copyright Office — in its Compendium of U.S.
Copyright Office Practices — has stated that when it receives a request to copyright an interview,
it

will assume that the interviewer and the interviewee own the copyright in their

respective questions and responses unless (i) the work is claimed as a joint work,
(ii) the applicant provides a transfer statement indicating that the interviewer or

16 Indeed, if Plaintiff’s answers in The Trump Tapes are considered separate and apart from
Woodward’s questions, the result is often unintelligible gibberish. To illustrate this point, the
Court includes in the attached Appendix numerous examples of Plaintiffs’ responses, first
separately and then together with Woodward’s questions. This exercise reveals that it is
Woodward’s questions that make Plaintiff’s answers intelligible. Because an interviewer’s
questions are of little to no value absent the interviewee’s answers, and because an interviewee’s
answers are frequently unintelligible absent the interviewer’s questions, providing for the
separate copyrightability of questions and answers in an interview setting is not rational, does not
advance the purposes of copyright law, and ignores the reality that an interview must be
considered as a unified whole.

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the interviewee transferred his or her rights to the copyright claimant, or (iti) the

applicant indicates that the interview was created or commissioned as a work

made for hire.
(Pltf. Opp. (Dkt. No. 77) at 20 (emphasis omitted) (quoting U.S. Copyright Office, Compendium
of U.S. Copyright Office Practices, 3rd ed. (2021) (“Compendium”), § 719) According to
Plaintiff, this provision from the Compendium establishes as a “matter of law” that Plaintiff is
entitled to a copyright interest in his responses to Woodward’s questions. (Id. at 21; see also SAC
(Dkt. No. 70) at 2 n.2 (stating that Defendants have acted “in direct contravention of the law laid
out in the compendium of U.S. Copyright Office Practices”))

As an initial matter, the Copyright Office’s Compendium does not have the force

of law.

[T]he Compendium “is the administrative manual of the Register of Copyrights

concerning the Copyright Act and regulations promulgated thereunder.” It

“provides instruction to agency staff regarding their statutory duties and provides

expert guidance to copyright applicants, practitioners, scholars, the courts, and

members of the general public regarding institutional practices and related

principles of law.”

Lieb v. Korangy Publ’g, Inc., No. CV 15-0040 (AYS), 2022 WL 1124850, at *9 (E.D.N.Y. Apr.

14, 2022) (quoting the Compendium at 1). As the Compendium itself states, however, “Tt]he
policies and practices set forth in the Compendium do not in themselves have the force and effect
of law and are not binding upon the Register of Copyrights or Copyright Office staff.”
(Compendium at 2).

The Supreme Court has instructed that “the Compendium is a non-binding
administrative manual that at most merits deference under [Skidmore]. That means we must

follow it only to the extent it has the ‘power to persuade.’” Georgia v. Public.Resource.Org, Inc.,

590 U.S. 255, 271 (2020) (quoting Skidmore v. Swift & Co., 323 U.S. 134, 140 (1944)). “The

weight of deference afforded to agency interpretations under Skidmore depends upon ‘the

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thoroughness evident in its consideration, the validity of its reasoning, its consistency with

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earlier and later pronouncements, and all those factors which give it power to persuade.’” Univ.

of Texas Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 360 (2013) (quoting Skidmore, 323 U.S. at 140).

Consistent with the Supreme Court’s instruction in Public.Resource.Org, courts

frequently diverge from guidance provided by the Copyright Office in the Compendium and

other sources. See, e.g., Public.Resource.Org, 590 U.S. at 271 (“Because our precedents answer
the question before us, we find any competing guidance in the Compendium unpersuasive.”);

Cartoon Network LP, LLLP v. CSC Holdings, Inc., 536 F.3d 121, 129 (2d Cir. 2008) (declining to

defer to a Copyright Office report under Skidmore because “the Office’s interpretation does not
explain why Congress would include language in a definition if it intended courts to ignore that

language”); Bartok v. Boosey & Hawkes, Inc., 523 F.2d 941, 946-47 (2d Cir. 1975) (finding that

district judge had erred in relying on Copyright Office’s definition of “‘posthumous’ as a ‘work
first published and copyrighted after the death of the author’”; noting that “the Copyright Office
has no authority to give opinions or define legal terms and its interpretation on an issue never
before decided should not be given controlling weight”) (footnotes omitted); Muench
Photography, Inc. v. Houghton Mifflin Harcourt Pub. Co., 712 F. Supp. 2d 84, 92-93 (S.D.N.Y.
2010) (“[T]he Court will not defer to the Copyright Office’s interpretations of the Copyright Act

... because the interpretations conflict with a plain reading of 17 U.S.C. § 409.”), on

reconsideration in part, No. 09-CV-2669 LAP, 2010 WL 3958841 (S.D.N.Y. Sept. 27, 2010);

Pryimachenko v. Home Box Off., Inc., No. 23-CV-10034 (LAK) (RWL), 2025 WL 567988, at *5

n.7 (S.D.N.Y. Jan. 14, 2025) (“Here, the Court does not defer to the Compendium’s explanation

of ‘publication,’ . . . .”), report and recommendation adopted, No. 23-CV-10034 (LAK), 2025 WL

673473 (S.D.N.Y. Mar. 3, 2025); see also VHT, Inc. v. Zillow Grp., Inc., 69 F.4th 983, 991 (9th

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Cir, 2023) (stating that the Compendium’s “evolving stance” on whether “registering
photographs as part of a photographic database . . . limit[s] the copyright owner’s ability to seek
certain remedies in an infringement action” has “no traction here’).

The Compendium excerpt cited by Plaintiff is not persuasive here, for a number
of reasons. As an initial matter, the Compendium has not adjusted to developments in the law, in
which courts — including the Second Circuit — have ruled that “inseparable contributions
integrated into a single work cannot separately obtain [copyright] protection.” 16 Casa Duse, 791
F.3d at 257; see also Garcia, 786 F.3d at 740-44 (rejecting actor’s argument that she had a
copyright interest in her performance in a film, which court found was a “single integrated
work”), Second, as discussed above, courts have rejected the notion that an interviewee has a
copyright interest in the answers he or she provides in an interview. Third, and for reasons also
discussed above, the Copyright Office’s instruction in the Compendium that copyright
registration should be sought separately for questions and answers in an interview ignores the
fact that an interviewer’s questions and an interviewee’s responses would “have little or no
independent meaning standing alone,” Childress, 945 F.2d at 505, because the work resulting
from an interview is an inseparable, unitary whole.

For all these reasons, the Court concludes that Plaintiff does not have a copyright

interest in his stand-alone interview responses.

* * * *

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Because the SAC does not plausibly allege either that Plaintiff is a joint author of

The Trump Tapes or otherwise has a copyright interest in The Trump Tapes, Defendants’ motion

to dismiss Plaintiff’s request for declaratory relief (Count I of the SAC) will be granted,!’

B. State Law Claims

In addition to the declaratory judgment-copyright claim, the SAC asserts an unjust
enrichment claim and request for an accounting as to all Defendants, and a breach of contract
and breach of the implied covenant of good faith and fair dealing claim against Woodward.
(SAC (Dkt. No. 70) {§ 66-113) In moving to dismiss the SAC, Defendants argue that Trump’s
state law claims are preempted by the Copyright Act, 17 U.S.C. § 301.!8 (Def. Br. (Dkt. No. 73)
at 34-36) Defendants further argue that (1) the SAC’s contract claim against Woodward fails,
because the SAC does not allege that Woodward entered into a binding agreement with Trump
not to use the interviews for purposes other than Rage; and (2) the SAC does not allege that

Defendant Paramount engaged in any actionable conduct. (Id. at 36-38) Plaintiff counters, inter

'7 Having concluded that Plaintiff is not a joint author of The Trump Tapes and does not hold a
copyright interest in his responses to Woodward’s questions, the Court does not reach
Defendants’ fair use and “government works doctrine” arguments. (See Def. Br. (Dkt. No. 73) at
16-22, 30-32) The Court notes, however, that both of these arguments are fact intensive and
generally not appropriate for resolution on a motion to dismiss. For example, Defendants’
“government works doctrine” argument turns on whether Plaintiff was acting in his personal or
official capacity when he participated in the interviews with Woodward. That issue requires a
“fact specific” approach that turns on “an objective analysis of ‘content, form, and context’... .
Trump v. United States, 603 U.S. 593, 629 (2024) (quoting Snyder v. Phelps, 562 U.S. 443, 453
(2011); see also Pub. Affs. Assocs., Inc. v. Rickover, 369 U.S. 111, 113-14 (1962) (in connection
with motion to dismiss a declaratory judgment claim, refusing to address a government works
doctrine issue where the circumstances of the preparation and delivery of the speeches at issue
were only “sketchily summarized”). Similarly, “it is rarely appropriate for a court to make the
fact-intensive determination of fair use at the motion to dismiss stage.” Bus. Casual Holdings,
LLC v. TV-Novosti, No. 21-CV-2007 (JGK), 2022 WL 784049, at *3 (S.D.N.Y. Mar. 14, 2022).
18 Defendants also argue that the SAC’s state law claims are preempted under the doctrine of
“conflict preemption.” Defendants’ conflict preemption point turns on their government works
doctrine arguments (see Def. Br. (Dkt. No. 73) at 32-34), however, and — as stated above — this
Court cannot resolve the government works doctrine arguments on a motion to dismiss.

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alia, that contract and unjust enrichment law “gives President Trump protection beyond that
provided by copyright law,” and therefore these claims are not preempted.!° (Pltf. Opp. (Dkt.
No. 77) at 35-36),”°

For the reasons explained below, this Court concludes that the SAC’s state law
claims are preempted by the Copyright Act. Accordingly, Defendants’ motion to dismiss the

SAC’s state law claims will be granted.?!

'9 Plaintiff does not specify in either the SAC or his opposition brief what state law he is relying
on. In arguing that Plaintiffs state law claims are preempted by the Copyright Act, Defendants
cite generally to New York law, except as to Plaintiff’s breach of contract claim against
Woodward. (See Def. Br. (Dkt. No. 73) at 35-36) As to the contract claim, Defendants say that
District of Columbia law applies, as “supplemented by New York decisions.” (See id. at 36 n.13)
The Court concludes that the application of New York law to all the state law claims is
appropriate here. Where parties have cited to the forum’s law or are silent as to the choice of law
issue, courts may apply the forum’s law. See Cole v. John Wiley & Sons, Inc., No. 11 CIV. 2090
DF, 2012 WL 3133520, at *16 n.11 (S.D.N.Y. Aug. 1, 2012) (where “neither party offers any
choice-of-law analysis . . . ‘the Court may apply the law of the forum’”) (quoting Global
Switching Inc. v. Kasper, No. CV-06-412 (CPS), 2006 WL 1800001, at *11 n.10 (E.D.N.Y. June
29, 2006)); Motorola Credit Corp. v. Uzan, 388 F.3d 39, 61 (2d Cir. 2004) (where the parties’
briefing assumes that the forum’s law is applicable, that briefing constitutes “implied consent”
“sufficient to establish choice of law.”) (internal quotations omitted). As to the contract claim,
Defendants have not argued that District of Columbia law differs from New York law in any
material way. Accordingly, for purposes of the preemption analysis, this Court assumes that
Plaintiff’s state law claims are brought under New York law. See Johnson v. Priceline.com, Inc.,
711 F.3d 271, 276 n.2 (2d Cir. 2013) (“[C]ourts sitting in diversity may properly rely on the forum
state’s law where neither party asserts that another jurisdiction’s law meaningfully differs. . . .”);
VTech Holdings, Ltd. v. Pricewaterhouse Coopers, LLP, 348 F. Supp. 2d 255, 262 n.48 (S.D.N.Y.
2004) (“The law of the forum state governs where, as here, neither party alleges that the law of a
different state would control and differs from New York law.”).

0 In his opposition brief, Plaintiff states that he “previously dispensed with argument regarding
[his] claim for [breach of the] implied covenant of good faith and fair dealing.” (Pltf. Opp. (Dkt.
No. 77) at 35 n.10) Plaintiff is alluding to his brief opposing Defendants’ motion to dismiss the
Amended Complaint, in which Plaintiff conceded “that, under New York law, there is no separate
cause of action for breach of the implied covenant of good faith and fair dealing where breach of
contract, based upon the same facts, is also pled.” (Pltf. Opp (Dkt. No. 61) at 36 n.14 (internal
quotations and citations omitted)) Given this concession, the SAC’s good faith and fair dealing
claim (Count VII) will be dismissed.

21 The fact that this Court has concluded that Plaintiff has not pled a plausible copyright claim
does not mean that his state law claims are not preempted by the Copyright Act. That is because
“Tt]he scope of copyright for preemption purposes . . . extends beyond the scope of available

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1. Applicable Law

Section 301 of the Copyright Act provides that “all legal or equitable rights that
are equivalent to any of the exclusive rights within the general scope of copyright . . . in works of
authorship that are fixed in a tangible medium of expression and come within the subject matter
of copyright... are governed exclusively by this title.” 17 U.S.C. § 301. The Second Circuit has
acknowledged that, in providing for broad preemption, Congress sought to “ensure a nationwide,
uniform federal copyright system, ousting the states from imposing any control of the area.” In
re Jackson, 972 F.3d 25, 42 (2d Cir. 2020).

Under In re Jackson, courts conduct a two-part analysis in determining whether a
state law claim is preempted under the Copyright Act, § 301.

Under the first prong of the analysis, a court “looks at the work that would be
affected by the plaintiff’s exercise of a state-created right, and requires (as an essential element
of preemption) that the work ‘come within the subject matter of copyright as specified by

sections 102 and 103.’” Id. (quoting 17 U.S.C. § 301(a)). Where “the work against which the

copyright protection.” Forest Park v. Universal TV Network, Inc., 683 F.3d 424, 429-30 (2d Cir.
2012); see also U.S. ex rel. Berge v. Bd. of Trs. of the Univ. of Alabama, 104 F.3d 1453, 1463 (4th
Cir. 1997) (“[T]he shadow actually cast by the [Copyright] Act’s preemption is notably broader
than the wing of its protection.”). Accordingly, Plaintiff’s state law claims may be preempted
even where he does not possess a valid copyright interest in The Trump Tapes. See, ¢.g., RBC
Nice Bearings, Inc. v. Peer Bearing Co., 676 F. Supp. 2d 9, 34 n.8 (D. Conn. 2009) (“The fact
that the Court has granted summary judgment [to defendant] on [p]laintiff’s copyright claim does
not preclude the preemption of [plaintiff’s] state law claims.”), aff’d, 410 F. App’x 362 (2d Cir.
2010); Greer v. Fox Corp., No. 20-CV-5484-LTS-SDA, 2022 WL 4093155, at *4 (S.D.N.Y. Sept.
7, 2022) (finding plaintiff’s state law claims preempted where plaintiff did not possess a
copyright registration), aff’d sub nom., Greer v. Fox News Media, No. 22-1970-CV, 2023 WL
2671796 (2d Cir. Mar. 29, 2023) (summary order); see also Elliot v. Cartagena, No. 19 CIV. 1998
(NRB), 2025 WL 486634, at *13 (S.D.N.Y. Feb. 13, 2025) (the Copyright Act “can preempt a
state law claim even if the plaintiff did not bring [a copyright] infringement claim”); KTS
Karaoke, Inc. v. Sony/ATV Music Publ’g LLC, No. CV1200014MWFJEMKX, 2014 WL 12567169,
at *7 (C.D. Cal. Jan. 14, 2014) (finding state law claim preempted by Copyright Act even though
“[p]laintiffs do not claim [copyright] ownership’).

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plaintiff claims rights is a ‘literary work[],’ a ‘musical work{],’ a ‘sound recording[], or any other
category of ‘work[] of authorship’ within the ‘subject matter of copyright’ . . . the plaintiff’s
claim is subject to the possibility of statutory preemption.” Id. at 42-43 (quoting 17 U.S.C.
§ 102(a)). In analyzing this prong, courts are to focus on “the gravamen of the claim and the
allegations supporting it.” Id. at 47.

The second prong of the analysis — often referred to as the “equivalence”
requirement — “looks at the right being asserted (over a work that comes within the ‘subject
matter of copyright’) and requires (for preemption to apply) that the right be ‘equivalent to any

of the exclusive rights within the general scope of copyright as specified by section 106.” Id. at

43 (emphasis in Jackson) (quoting 17 U.S.C. § 301(a)). “[S]tate law rights are equivalent to those

within copyright’s general scope ‘[w]hen [those state law rights] may be abridged by an act
which, in and of itself, would infringe one of the exclusive rights [provided in Section 106].’” Id.

(first alteration added) (quoting Harper & Row Publishers, Inc. v. Nation Enterprises, 723 F.2d

195, 200 (2d Cir. 1983), rev’d on other grounds, 471 U.S. 539 (1985)). “‘Conversely, when a state

law violation is predicated upon an act incorporating elements beyond mere reproduction or the
like, the rights involved are not equivalent and preemption will not occur.” Id. (quoting Harper
& Row, 723 F.2d at 200).

The “critical inquiry” in connection with the second prong is whether the “extra
elements of the state law claim beyond what is required for copyright infringement ‘change[] the
nature of the action so that it is qualitatively different from a copyright infringement claim.’” Id.

at 43-44 (emphasis and alterations in Jackson) (quoting Comput. Assocs. Int’l., Inc. v. Altai, Inc.,

982 F.2d 693, 716 (2d Cir. 1992)). “To determine whether a claim is qualitatively different,

[courts] look at ‘what [the] plaintiff seeks to protect, the theories in which the matter is thought

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to be protected and the rights sought to be enforced.’” Briarpatch Ltd., L.P v. Phoenix Pictures,

Inc., 373 F.3d 296, 306 (2d Cir. 2004) (second alteration in Briarpatch) (quoting Comput.
Assocs., 982 F.2d at 816). The Second Circuit has instructed courts to “take a restrictive view of
what extra elements transform an otherwise equivalent claim into one that is qualitatively
different from a copyright infringement claim.” Id.

Where it “‘is evident from the face of the complaint’” that a plaintiff’s state law
claims are preempted by the Copyright Act, dismissal of those claims is appropriate. Ricci v.

Teamsters Union Local 456, 781 F.3d 25, 28 (2d Cir, 2015) (quoting Klayman v. Zuckerberg, 753

F.3d 1354, 1357 (D.C. Cir, 2014)).

2. Analysis

There is no dispute here that The Trump Tapes “‘come within the subject matter

of copyright as specified by sections 102 and 103 [of the Copyright Act].’” In re Jackson, 972
F.3d at 42 (quoting 17 U.S.C. § 301(a)). The paperback and audiobook versions of The Trump
Tapes “against which the plaintiff claims rights” are, respectively, “a ‘literary work[]’ [and]... a
‘sound recording[],’” and fall “within the ‘subject matter of copyright.’” Plaintiff's state law
claims are thus “subject to the possibility of statutory preemption.” Id. at 42-43 (quoting 17
U.S.C. § 102(a)).

The first prong of the preemption analysis is satisfied as to each of Plaintiff’s state
law claims because the gravamen of each claim is that Defendants have made wrongful use of
the interview recordings, which is a matter “within the subject matter of copyright.”

As to the second prong of the analysis — the “equivalence” requirement — the

Court considers separately below each state law claim pled in the SAC,

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a. Unjust Enrichment

In the SAC’s unjust enrichment claims against Woodward, Simon & Schuster, and
Paramount, Plaintiff alleges that he “conferred a benefit” on Woodward by participating in the
interviews and allowing them to be recorded for use in Rage, and that the interview recordings
were subsequently “acqui[red]” by Simon & Schuster and Paramount. (SAC (Dkt. No. 70) {ff
76, 85, 94) The SAC further alleges that each Defendant “accepted” this benefit and then
“exploited” it to “enrich” themselves “without accounting to and compensating President
Trump.” (See id. J] 76-78 (Woodward); id. {{f 85-87 (Simon & Schuster); id. {fj 94-96
(Paramount))

“The basic elements of an unjust enrichment claim in New York require proof that
(1) defendant was enriched, (2) at plaintiff’s expense, and (3) equity and good conscience militate

against permitting defendant to retain what plaintiff is seeking to recover.” Briarpatch Ltd., 373

F.3d at 306 (citing Clark v. Daby, 751 N.Y.S.2d 622, 623 (2002)). “While enrichment is not
required for copyright infringement[,]. . . [the Second Circuit has ruled that that distinction does
not go] far enough to make [an] unjust enrichment claim qualitatively different from a copyright
infringement claim.” Id.

Plaintiff argues, however, that his unjust enrichment claims require “a different
analysis,” and urges the Court to consider the “understanding of each of the participants when
agreeing to being recorded, the legitimate expectations when the recording was made, the
subsequent behavior of the defendants, whether they come to equity with clean hands, whether
disgorgement is appropriate, [and] whether the defendants have the right to any offset in
quantum meruit.” (Pltf. Opp. (Dkt. No. 77) at 36)

As discussed above, however, the “critical inquiry” is whether the “extra

elements” of the state law claim make it “qualitatively different” from a copyright infringement

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claim.” Jackson, 972 F.3d at 43-44. Under Briarpatch — which Plaintiff does not address in any
fashion — Plaintiff’s unjust enrichment claims are not qualitatively different from a copyright

infringement claim, see Briarpatch, 373 F.3d at 306, and accordingly those claims are preempted

by the Copyright Act and will be dismissed.

b. Breach of Contract

In the SAC’s breach of contract claim against Woodward, Plaintiff alleges that the
parties “agreed that the Interview Sound Recordings could be utilized only for the purposes of
writing a singular book[— that being Rage].” (SAC (Dkt. No. 70) 4 102) According to Plaintiff,
Woodward “agreed he had a limited license” to use the interview recordings. (Id. { 103; see also
id. J 104 (alleging that Woodward “assented and agreed to the terms of the limitations in such
license”)) Plaintiff further alleges that he “performed and gave the requested [i]nterviews such
that Woodward could write a singular book.” (Id. 4105) But Woodward published the
audiobook and derivative works and thereby “breached the terms of the license.” (Id. ff 106-07)

The elements of a breach of contract claim under New York and District of
Columbia law are: “(1) the existence of a contract between [the plaintiff] and th[e] defendant; (2)
performance of the plaintiff’s obligations under the contract; (3) breach of the contract by th[e]
defendant; and (4) damages to the plaintiff caused by th[e] defendant’s breach.” Diesel Props

S.r.l. v. Greystone Bus. Credit II LLC, 631 F.3d 42, 52 (2d Cir. 2011); see also Armenian

Assembly of Am., Inc. v. Cafesjian, 772 F. Supp. 2d 20, 123 (D.D.C. 2011) (“To prevail on a

breach of contract claim [under District of Columbia law], a party must demonstrate that a

22 The knowledge and intent issues raised by Plaintiff (see Pltf. Opp. (Dkt. No 77) at 36 (citing
“the understanding of each of the participants” and their “legitimate expectations”)) are not
relevant to the analysis. “An action will not be saved from preemption by elements such as
awareness or intent, which ‘alter the action’s scope but not its nature[.]’” Comput. Assocs., 982
F.2d at 717 (quoting Mayer v. Josiah Wedgwood & Sons, Ltd., 601 F. Supp. 1523, 1535 (S.D.N.Y.
1985)).

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contract existed, that the party performed his contractual obligations, that the other party
breached the contract, and that the party suffered damages due to the breach.”).

Generally speaking, “a contract that ‘does not purport to give [the plaintiff] any
protection beyond that provided . . . by copyright law itself? would be preempted.” Universal

Instruments Corp. v. Micro Sys. Eng’g, Inc., 924 F.3d 32, 49 (2d Cir. 2019) (alterations and

omissions in original) (quoting 5 Nimmer on Copyright § 19D.03[C][2][b]). “Whether a breach
of contract claim is preempted depends on the precise nature of the contract right being

enforced.” Red Apple Media, Inc. v. Batchelor, 729 F. Supp. 3d 350, 363 (S.D.N.Y. 2024).”? For

23 There has been widespread “disagreement among the district courts in this Circuit about how
[the] ‘[extra] elements’ test applies to a breach of contract claim... .” Dow Jones & Co., Inc. v.
Juwai Ltd., No. 21 Civ. 7284 (PKC), 2023 WL 2561588, at *7 (S.D.N.Y. Mar. 17, 2023). Some
courts have ruled that breach of contract claims are categorically exempt from Copyright Act
preemption because there is a “promise inherent in every contract.” BroadVision Inc. v. Gen.
Elec. Co., No. 08 Civ. 1489 (WHP), 2008 WL 4684114, at *4 (S.D.N.Y. Oct. 15, 2008). Other
courts have rejected a categorical rule, instead holding that “‘a breach of contract claim is
preempted if it is merely based on allegations that the defendant did something that the copyright
laws reserve exclusively to the plaintiff (such as unauthorized reproduction, performance,
distribution, or display).’” Canal+ Image UK Ltd. v. Lutvak, 773 F. Supp. 2d 419, 443 (S.D.N.Y.
2011) (collecting cases) (quoting Am. Movie Classics Co. v. Turner Ent. Co., 922 F. Supp. 926,
931 (S.D.N.Y. 1996)).

In Universal Instruments Corp., however, the Second Circuit made clear that

vindication of an exclusive right under the Copyright Act, read into a license by
negative implication, is preempted by the Copyright Act. See 3 Nimmer §
10.15[A] (noting that “use by the grantee without authority from the grantor” leads
to the legal consequence “that the grantee’s conduct may constitute copyright
infringement”). In Kamakazi Music Corp. v. Robbins Music Corp., we held that a
licensor’s suit against a licensee whose license had expired was for copyright
infringement, not breach of contract. 684 F.2d 228, 230 (2d Cir. 1982). This
rationale extends equally to a licensor whose use arguably exceeds the scope,
rather than the duration, of a license. See Marshall v. New Kids On The Block
P’ship, 780 F. Supp. 1005, 1008-09 (S.D.N.Y. 1991). Because this portion of
Universal’s breach of contract claim seeks solely to vindicate an exclusive right
under the Copyright Act, it is preempted. It thus fails as a matter of law. ...

Universal Instruments Corp., 924 F.3d at 49.

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example, a breach of contract claim is generally preempted where it seeks to “vindicate one of
the rights protected by the Copyright Act (i.e., the right to distribute, reproduce, display, [etc.] the
work).” Id. “On the other hand, where a contract claim seeks to vindicate a right beyond those
provided by Copyright law, such as a promise to pay, the claim is not preempted.” Id.

Here, the SAC’s contract claim against Woodward is preempted because it seeks
only to vindicate rights protected by the Copyright Act. The gravamen of the claim is that
Woodward “distributed” the alleged protected work (Trump’s responses to Woodward’s
interview questions) in violation of their agreement. Woodward’s challenged act — creating and

distributing The Trump Tapes — “by itself, infringe[s] one of the exclusive rights provided by

federal copyright law,” such as “reproduction, adaptation, performance, distribution, or display.”
Briarpatch, 373 F.3d at 305. In seeking to control the release and distribution of his interview
responses, Plaintiff is seeking to vindicate a copyright interest in his interview responses.
Accordingly, the alleged agreement between Plaintiff and Woodward does not give Plaintiff
“protection beyond that provided . . . by copyright law itself.” As a consequence, the contract

claim is preempted as a matter of law. Universal Instruments Corp., 924 F.3d at 49.

Plaintiff argues, however, that his and Woodward’s agreement that the interviews
would be used only for purposes of Rage means that the agreement “gives President Trump
protection beyond that provided by copyright law,” because it limited “Woodward|’s] rights in
the recordings as consideration for them being recorded at all.” (Pltf. Opp. (Dkt. No. 77) at 35-

36) In Universal Instruments Corp., however, the Second Circuit rejected the argument that

exceeding the scope of a license entails an “extra element” that saves a breach of contract claim
from preemption. 924 F.3d at 49. There, plaintiff alleged that defendant had modified its source

code, thereby exceeding the scope of the license reflected in the parties’ agreement. Id. While

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the “prohibition against modification” was not set forth in that agreement, it was “arguably
implied[,] because copyright licenses are assumed not to permit those uses not expressly

authorized.” Id. (citing Gilliam v. Am. Broad. Cos., Inc., 538 F.2d 14, 20 (2d Cir. 1976)).

Accordingly, the Second Circuit held that the plaintiff “necessarily [sought] to vindicate its
exclusive rights under 17 U.S.C. § 106” through its breach of contract claim. As a result, that
claim was preempted. Id. That the plaintiff and defendant were “in contractual privity [did]
nothing to change the fact that vindication of an exclusive right under the Copyright Act, read
into a license by negative implication, is preempted by the Copyright Act.” Id. (citing 3 Nimmer
§ 10.15[A] (“use by the grantee without authority from the grantor” leads to the legal
consequence “that the grantee’s conduct may constitute copyright infringement”).

Here, as in Universal Instruments Corp., Plaintiff’s claim that Woodward

exceeded the scope of his limited license by releasing The Trump Tapes necessarily means that

he is seeking to vindicate his rights under the Copyright Act. The nature of a copyright license is
such that it is “assumed not to permit those uses not expressly authorized.” Id. Accordingly,

Trump’s claim that Woodward’s use of the recordings to produce The Trump Tapes exceeded the

limited license he was granted is a claim that “seeks solely to vindicate an exclusive right under
the Copyright Act....” Id. Such a claim is not “qualitatively different” from a copyright claim
and is therefore preempted. Jackson, 972 F.3d at 44 (emphasis in original).

Accordingly, Defendants’ motion to dismiss the SAC’s breach of contract claim
against Woodward will be granted.

c. Accounting Claim

“To establish a claim for [an] accounting under New York law, a party must
establish ‘(1) relations of a mutual and confidential nature; (2) money or property entrusted to the

defendant imposing upon him a burden of accounting; (3) that there is no adequate legal remedy;

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and (4) in some cases, a demand for an accounting and a refusal.’” Baiul v. NBC Sports, No. 15-

ev-9920, 2016 WL 1587250, at *10 (S.D.N.Y. Apr. 19, 2016) (quoting Dayan Enters., Corp. v.

Nautica Apparel, Inc., No. 03-cv-5706, 2003 WL 22832706, at *1 (S.D.N.Y. Nov. 26, 2003)).

Numerous courts in this District have held that “claims for [an] accounting based on the
defendant’s alleged misappropriation and exploitation of a copyright work are preempted by the

Copyright Act.” Id.; see also, e.g., McKenzie-Morris v. V.P. Recs. Retail Outlet, Inc., No. 1:22-

CV-1138-GHW, 2023 WL 5211054, *10-11 (S.D.N.Y. Aug. 13, 2023) (claim for an accounting
preempted where it was based on defendants’ alleged misappropriation and exploitation of

copyrighted works); Gary Friedrich Enters., LLC v. Marvel Enters., Inc., 713 F. Supp. 2d 215, 233

(S.D.N.Y. 2010) (dismissing accounting claim as preempted by the Copyright Act); Weber v.
Geffen Recs., 63 F. Supp. 2d 458, 463 (S.D.N.Y. 1999) (same).

Here, the SAC’s accounting claim is premised on Defendants’ alleged “intentional
and continued exploitation of the Interview Sound Recordings, Audiobook, and Derivative
Works... .” (SAC (Dkt. No. 70) § 67) Because the accounting claim is “based on
([Defendants’] alleged misappropriation and exploitation of . .. copyrighted work[s],” it is
“preempted by the Copyright Act.” Baiul, 2016 WL 1587250, at *10.

Accordingly, Defendants’ motion to dismiss the SAC’s claim for an accounting
will be granted.

Hl. LEAVE TO AMEND

District courts have “broad discretion in determining whether to grant leave to

amend....” Gurary v. Winehouse, 235 F.3d 792, 801 (2d Cir. 2000). Leave to amend may

properly be denied in cases of “‘undue delay, bad faith, or dilatory motive on the part of the
movant, repeated failure to cure deficiencies by amendments previously allowed, undue

prejudice to the opposing party by virtue of allowance of the amendment, futility of amendment,

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etc.” Ruotolo v. City of N.Y., 514 F.3d 184, 191 (2d Cir. 2008) (quoting Foman v. Davis, 371 U.S.

178, 182 (1962)). “Where the possibility exists that [a] defect can be cured,” leave to amend

“should normally be granted” at least once. Wright v. Ernst & Young LLP, No. 97 CIV. 2189

(SAS), 1997 WL 563782, at *3 (S.D.N.Y. Sept. 10, 1997), aff'd, 152 F.3d 169 (2d Cir. 1998) (citing

Oliver Schs., Inc. v. Foley, 930 F.2d 248, 253 (2d Cir. 1991)). Moreover, where a claim is

dismissed on the grounds that it is “inadequate[ly] [pled],” there is “a strong preference for

allowing plaintiffs to amend.” In re Bear Stearns Cos., Inc. Sec., Derivative, & ERISA Litig.,

No. 08 MDL 1963, 2011 WL 4072027, at *2 (S.D.N.Y. Sept. 13, 2011) (citing Ronzani y. Sanofi

S.A., 899 F.2d 195, 198 (2d Cir. 1990)). However, a court may dismiss without leave to amend

where amendment would be “futile,” because the amended claim would not survive a motion to

dismiss. Hutchison v. Deutsche Bank Sec. Inc., 647 F.3d 479, 491 (2d Cir. 2011).
While it appears unlikely that Plaintiff can adequately plead a plausible copyright

interest in The Trump Tapes or any non-preempted state law claim, this Court cannot find at this

stage that any amendment would be futile. Accordingly, leave to move to amend is granted. Any
motion for leave to file a Third Amended Complaint will be filed by August 18, 2025, and will
explain how the new pleading addresses the defects cited in this Opinion. The proposed Third

Amended Complaint will be attached as an exhibit to the motion.

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CONCLUSION

For the reasons stated above, Defendants’ motion to dismiss the Second Amended
Complaint is granted. The Clerk of Court is directed to terminate the motion (DKt. No. 72).

Dated: New York, New York
July 18, 2025
SO ORDERED.

Paul G. Gardephe v
United States District Judge

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APPENDIX
(Excerpts from The Trump Tapes Paperback)

Page 59;
Trump’s Answers Full Transcript
BW: So, hard question, President Trump.
TRUMP: Yeah TRUMP: Yeah

TRUMP: Them?

TRUMP: Very.

TRUMP: Much closer than anyone would
know.

TRUMP: Much closer.

TRUMP: Much closer. You know. He
knows it better than anybody.

BW: I understand we really came close to
wat.

TRUMP: Them?

BW: With North Korea.
TRUMP: Very.

BW: Pardon?

TRUMP: Much closer than anyone would
know.

BW: Yeah. I realize—
TRUMP: Much closer.
BW: —one more ICBM test, and—

TRUMP: Much closer. You know. He
knows it better than anybody.

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Trump’s Answers

Full Transcript

TRUMP: I don’t know.

TRUMP: Because I’m real. Because I love
them.

TRUMP: I don’t think of it that way. I don’t
think—

TRUMP: They say I have the strongest base
in the history of politics. Remember the
statement? I could—

TRUMP: Everybody. They say it now. I
don’t think there’s ever been a base like this.
And because I love them, they love me. I
mean it’s just a great base.

BW: Okay, now, why do people love you?
TRUMP: I don’t know.
BW: Why do they like—

TRUMP: Because I’m real. Because I love
them.

BW: Here’s my anecdotal—talked to people,
and why are you for Trump? And they’ll
say—one answer you get more than anything:
He’s not politically correct. They don’t like
political correctness.

TRUMP: I don’t think of it that way. I don’t
think—

BW: You think that’s—

TRUMP: They say I have the strongest base
in the history of politics. Remember the
statement? I could—

BW: Who said that?

TRUMP: Everybody. They say it now. I
don’t think there’s ever been a base like this.
And because I love them, they love me. I
mean it’s just a great base.

Page 75:

Trump’s Answers

Full Transcript

TRUMP: Yeah.

TRUMP: Sure.

TRUMP: No.

BW: This is an important moment in history,
where they’re going to impeach you, the
House is going to impeach you—

TRUMP: Yeah.

BW: —and we’re sitting in the Oval Office
here. And you are content, happy, proud.

TRUMP: Sure.
BW: Any angst?
TRUMP: No.

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Page 84:

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Trump’s Answers

Full Transcript

TRUMP: Well, to a certain extent.

TRUMP: To a certain extent. And we have a
great Cabinet.

TRUMP: Yes, very much so.

BW: ... Now, what do presidents do? My
final, bottom line on this, presidents are talent
scouts.

TRUMP: Well, to a certain extent.
BW: That’s your biggest job. Pick—

TRUMP: To acertain extent. And we have a
great Cabinet.

BW: Would you agree with that?
TRUMP: Yes, very much so.

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Page 90:

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Trump’s Answers

Full Transcript

TRUMP: Very good.

TRUMP: So it’s a very good relationship.
And people are surprised, because we’re sort
of opposites. We’ve put in more judges—you
know, judges at a record level. Record. We
have every record, other than George
Washington, who has a higher percentage. He
had 100 percent, but he only had 16 judges.
Okay? I’m going to be up to 167 judges. And
itll be 182 before normalization.

TRUMP: A hundred and eighty-two judges.

TRUMP: So we talk. You know, this is not a
legal process, this is a political process.
Right?

BW: —for the book, sir what’s your
relationship with Mitch McConnell?

TRUMP: Very good.

BW: Probably the most important
relationship in Washington in the next couple
of months, or maybe year.

TRUMP: So it’s a very good relationship.
And people are surprised, because we’re sort
of opposites. We’ve put in more judges—you
know, judges at a record level. Record. We
have every record, other than George
Washington, who has a higher percentage. He
had 100 percent, but he only had 16 judges.
Okay? I’m going to be up to 167 judges. And
it'll be 182 before normalization.

BW: Yes, you mentioned—
TRUMP: A hundred and eighty-two judges.

BW: So what does McConnell say to you,
President Trump, about what’s going on on
the Hill and what the Senate’s going to do?

TRUMP: So we talk. You know, this is not a
legal process, this is a political process.
Right?

BW: I’ve noticed.

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Trump’s Answers

Full Transcript

TRUMP: They couldn’t—they called him all
the time.

TRUMP: But before I did that, Bob—there
was never tougher rhetoric in the history of
our country.

TRUMP: Blasting. Okay. Without that, it
wouldn’t have ever happened.

BW: Okay. Here is my policy assumption in
doing this book. Your predecessors, George
W. Bush, Obama, didn’t figure out how to
deal with Kim.

TRUMP: They couldn’t—they called him all
the time.

BW: And you came in—and this I need an
answer to—you threw him the ultimate
curveball. Other words, I’ll meet with you.
I'll treat you with respect.

TRUMP: But before I did that, Bob—there
was never tougher rhetoric in the history of
our country.

BW: I know. For the first year. You know,
just blasting away at each other.

TRUMP: Blasting. Okay. Without that, it
wouldn’t have ever happened.

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Trump’s Answers

Full Transcript

TRUMP: Not even a little bit. No.

TRUMP: I just know he wasn’t ready.

TRUMP: Yeah.

TRUMP: But China—look

TRUMP: I have a great relationship there.
Well, because I’m breaking China’s ass on
trade.

BW: Did Kim Jong Un, if I may ask this, did
he say anything that was threatening?
Because—

TRUMP: Not even a little bit. No.
BW: And you know he’s getting these—
TRUMP: I just know he wasn’t ready.

BW: —eight-axle mobile missile launchers
from China—

TRUMP: Yeah.

BW: —that give him—
TRUMP: But China—look
BW: Why’s China doing that?

TRUMP: I have a great relationship there.
Well, because I’m breaking China’s ass on
trade.

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Trump’s Answers

Full Transcript

TRUMP: There is a possibility, yeah. I
think—

TRUMP: They’re always prepared. They

TRUMP: I don’t think it happens. I don’t
think he wants to mess with us. I think he
likes me, a lot.

TRUMP: Well, I know, but I don’t—Look,
you read the letters.

have to be prepared. You have to be prepared.

BW: But you’re aware that the possibility he
might shoot that missile—

TRUMP: There is a possibility, yeah. I
think—

BW: —drove the military crazy. Out at
NORTHCOM, I mean, they have to—we
talked about this last time—they delegate the
presidential authority down to a two-start
general to shoot down with an interceptor a
missile—

TRUMP: They’re always prepared. They
have to be prepared. You have to be prepared.

BW: So they conduct—when it looked like a
missile was coming up, they—

TRUMP: I don’t think it happens. I don’t
think he wants to mess with us. I think he
likes me, a lot.

BW: Yeah. He could like you and still feel
he’s in a pinch.

TRUMP: Well, I know, but I don’t—Look,
you read the letters.

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Page 116:
Trump’s Answers Full Transcript
BW: You know they start counterintelligence
investigations [snaps fingers]. Because, oh,
we’ve got an anonymous phone call.
TRUMP: Yeah. TRUMP: Yeah.

TRUMP: A little bit.

TRUMP: No. No.

TRUMP: Yeah, I get a lot of briefings, but—

BW: And are you familiar with
counterintelligence investigations?

TRUMP: A little bit.

BW: Do they brief you on them?

TRUMP: No. No.

BW: Do you know all the—

TRUMP: Yeah, I get a lot of briefings, but—

Pages 119-20:
Trump’s Answers Full Transcript
BW: Do you think there’s too much
concentration of power in the presidency
now?
TRUMP: No. TRUMP: No.

TRUMP: Right.

TRUMP: No. I think you have a lot of
checks and balances... .

BW: I’m astounded, going back—I’ve done
nine presidents sir.

TRUMP: Right.

BW: And power grows, from Nixon to you.
And I wonder is there too much power
concentrated?

TRUMP: No. I think you have a lot of
checks and balances... .

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Page 141:
Trump’s Answers Full Transcript
BW: But as you know, they can find things,
they can dig things up.
TRUMP: Sure. TRUMP: Sure.

TRUMP: Two years and they had nothing.
Well, 171] tell you—

TRUMP: I never felt relief.

TRUMP: I never felt relief. Because that
was the way it was being played. They were
dirty cops.

TRUMP: Yeah.

TRUMP: Big statement.

TRUMP: That’s a big statement. Now, that’s
a big statement.

TRUMP: I didn’t know that. No, I never
heard that.

TRUMP: I have not.

BW: And this went on for two years.

TRUMP: Two years and they had nothing.
Well, P1l tell you—

BW: And the question is, when did you feel
relief? And did you get some information—

TRUMP: I never felt relief.
BW: Why?

TRUMP: I never felt relief. Because that
was the way it was being played. They were
dirty cops.

BW: So what Rosenstein said to Muller was,
let me know if you find anything that shows
coordination or conspiracy. It never came.

TRUMP: Yeah.

BW: And he knew this earlier this year,
before the report came out. He said he
bulletproofed you for 2020, which is—

TRUMP: Big statement.
BW: —>pretty important bulletproofing.

TRUMP: That’s a big statement. Now, that’s
a big statement.

BW: Did you know that?

TRUMP: I didn’t know that. No, I never
heard that.

BW: Have you talked to him since?
TRUMP: I have not.

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Page 147-48:

Trump’s Answers

Full Transcript

TRUMP: I don’t know if it pisses them off.

TRUMP: But! get better intel the way I do it
than I can ever get from other people.

BW: ... The question about the Syrian
situation is, I’ve found, and my assistant, that
you have what they call kind of a shadow
system on the phone of calling people where
the intel people don’t know and it pisses them
off. Is that correct?

TRUMP: I don’t know if it pisses them off.
BW: Okay, but you do have a shadow—

TRUMP: But I get better intel the way I do it
than I can ever get from other people.

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Trump’s Answers

Full Transcript

TRUMP: No. No. Well, you saw the letter I
wrote. Didn’t you see the very strong—

TRUMP: No, I didn’t say that.

TRUMP: I said, don’t do it, but we’re
leaving. But I don’t think you should do it.

TRUMP: He decided—well, no, I get along
with world leaders. Excuse me, NATO. I
just—you know I just raised $530 billion.

TRUMP: Which nobody in the newspapers
write about.

TRUMP: I get along with people. I talk to
people. Yeah, I mean, I do.

BW: Did you tell Erdogan, look, it’s all
yours, we’re done, and then four days later
you tweeted it and announced it?

TRUMP: No. No. Well, you saw the letter I
wrote. Didn’t you see the very strong—

BW: Yes sir. [laughs] Very—
TRUMP: No, I didn’t say that.
BW: “Don’t be a fool.”

TRUMP: I said, don’t do it, but we’re
leaving. But I don’t think you should do it.

BW: Yeah. But you do have a shadow
communication system, that’s correct?

TRUMP: He decided—well, no, I get along
with world leaders. Excuse me, NATO. I
just—you know I just raised $530 billion.

BW: Yes, sir. I know.

TRUMP: Which nobody in the newspapers
write about.

BW: But you do have a shadow
communication system.

TRUMP: I get along with people. I talk to
people. Yeah, I mean, I do.

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Pages 191-92:

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Trump’s Answers

Full Transcript

TRUMP: Look. To me he will always say
that he didn’t do it. He says that to
everybody, and frankly, I’m happy he says
that. But he will say that to you, he will say
that to Congress, and he will say that to
everybody. He’s never said he did it.

TRUMP: No, he says that he didn’t do it.

BW: Let me go back to MBS and Saudi
Arabia. What did you say to him?

TRUMP: Look. To me he will always say
that he didn’t do it. He says that to
everybody, and frankly, I’m happy he says
that. But he will say that to you, he will say
that to Congress, and he will say that to
everybody. He’s never said he did it.

BW: Do you believe that he did it?
TRUMP: No, he says that he didn’t do it.

Page 231:

Trump’s Answers

Full Transcript

TRUMP: This is a war.

TRUMP: Well, he’s a very good guy. He’s
done it before. He’s a sharp guy. I think he’s
79 years old.

TRUMP: Very good.

TRUMP: Well, when you compare him—
listen, when you compare that to Biden, and
when you compare it to a lot of the people we
see, right—no, he’s sharp. And he’s doing a
good job. He’s a very dedicated guy.

BW: Okay. So now tell me about the
relationship with Fauci. You know, Fauci—as
you now say you’re a wartime president, and I
think that’s exactly right, by the way.

TRUMP: This is a war.

BW: This is a war. And he’s in many ways
your Eisenhower.

TRUMP: Well, he’s a very good guy. He’s
done it before. He’s a sharp guy. I think he’s
79 years old.

BW: Yes, he is.
TRUMP: Very good.
BW: He’s even older than you or me.

TRUMP: Well, when you compare him—
listen, when you compare that to Biden, and
when you compare it to a lot of the people we
see, right—no, he’s sharp. And he’s doing a
good job. He’s a very dedicated guy.

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Pages 235-36:

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Trump’s Answers

Full Transcript

TRUMP: No.

TRUMP: I think it might be, but I don’t think
that. All I want to do is get it solved. There
are many people that said that to me. They
said, you’re now a wartime president.

BW: ... Was there a moment in all of this,
last two months, where you said to yourself,
ah, this is the leadership test of a lifetime?

TRUMP: No.
BW: No?

TRUMP: I think it might be, but I don’t think
that. All I want to do is get it solved. There
are many people that said that to me. They
said, you’re now a wartime president.

Page 245;

Trump’s Answers

Full Transcript

TRUMP: Doing a very good job. Solid rock.

TRUMP: Yeah, he’s doing a good job. Smart
guy. Number one in his class at West Point.

TRUMP: Smart guy. Number one at
Harvard, I understand.

TRUMP: The world, you know. He’s doing
everything. We’re having lots of different
discussions about a lots of different things.
He’s a very good person. Good guy. Good,
solid guy.

BW: How’s Pompeo?
TRUMP: Doing a very good job. Solid rock.
BW: What’s his focus now?

TRUMP: Yeah, he’s doing a good job. Smart
guy. Number one in his class at West Point.

BW: Right.

TRUMP: Smart guy. Number one at
Harvard, I understand.

BW: What’s his assignment now?

TRUMP: The world, you know. He’s doing
everything. We’re having lots of different
discussions about a lots of different things.
He’s a very good person. Good guy. Good,
solid guy.

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Trump’s Answers

Full Transcript

TRUMP: They’ve been clobbered far worse
than you read.

TRUMP: Like you wouldn’t believe.

TRUMP: Oh, I got another letter from him
by the way.

TRUMP: I’ll show you. Yeah. Very good
letter.

BW: How’s Xi’s Mood? Because they’ve
been clobbered also. I understand from the
intel that there’s—

TRUMP: They’ve been clobbered far worse
than you read.

BW: Yeah. And I understand that it shows in
North Korea they’re being clobbered too.

TRUMP: Like you wouldn’t believe.
BW: Yeah.

TRUMP: Oh, I got another letter from him
by the way.

BW: Oh, good. Well I’ve got those 29
letters—

TRUMP: I?ll show you. Yeah. Very good
letter.

BW: —and we’ll get that history right.

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Trump’s Answers

Full Transcript

TRUMP: That is going really well, Bob. I
mean, that—you know, I don’t know if you
saw. It was opened on Friday.

TRUMP: Well, if they don’t participate we’re
not going to be happy with them. But Bank
of America, JP Morgan Chase, they had to get
their own stuff straightened out. It had
nothing to do with us.

TRUMP: Well, didn’t we sell $13 billion in
one day?

TRUMP: We’re probably going to have to
raise it, because we’re going to need—which
is a good thing not a bad thing. No it’s going
out very fast, Bob. And the banks are doing
it. And the biggest thing are the community
banks are doing it. You know?

BW: Okay. The fourth area is the small
business loans. I know you said—

TRUMP: That is going really well, Bob. I
mean, that—you know, I don’t know if you
saw. It was opened on Friday.

BW: I understand. But some of the banks are
not participating because they say that—

TRUMP: Well, if they don’t participate we’re
not going to be happy with them. But Bank
of America, JP Morgan Chase, they had to get
their own stuff straightened out. It had
nothing to do with us.

BW: They say the interest rate is too low and
they’re reluctant to participate in full.

TRUMP: Well, didn’t we sell $13 billion in
one day?

BW: Whatever it was, yes. But the number
has got to be up to, what, $300 billion. $377.

TRUMP: We’re probably going to have to
raise it, because we’re going to need—which
is a good thing not a bad thing. No it’s going
out very fast, Bob. And the banks are doing
it. And the biggest thing are the community
banks are doing it. You know?

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Trump’s Answers

Full Transcript

TRUMP: Sure. But they’re allowed to their
views. I mean, you know, if I did that I
wouldn’t have closed the country.

TRUMP: If I, you know, listened there I
wouldn’t have closed the country.

TRUMP: I meet with her every day,
practically. Her or her people.

TRUMP: Better than any president’s known
in 30 years.

BW: How about the small government
Republicans who, you know, are real leery of
all this spending of trillions of dollars?

TRUMP: Sure. But they’re allowed to their
views. I mean, you know, if! did that I
wouldn’t have closed the country.

BW: Are they obstacles?

TRUMP: If I, you know, listened there I
wouldn’t have closed the country.

BW: Okay. How about the intelligence
agencies? How’s Gina doing telling you
what’s going on in the world.

TRUMP: I meet with her every day,
practically. Her or her people.

COMMENTARY: I was asking Trump about
his CIA Director Gina Haspel

BW: And do you feel that you know what’s
going on in the world?

TRUMP: Better than any president’s known
in 30 years.

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Trump’s Answers

Full Transcript

TRUMP: Very good. No problem. No
problem.

TRUMP: Everybody said—look he’s a

TRUMP: If there was a problem, he’d know
about it. So would you. No, no problem.

Democrat, but we have a good—you see that.

BW: For the serious history of this, coming
out in the fall, how’s your relationship with
Fauci?

TRUMP: Very good. No problem. No
problem.

BW: Okay? He’s used—

TRUMP: Everybody said—look he’s a
Democrat, but we have a good—you see that.

BW: Yeah.

TRUMP: If there was a problem, he’d know
about it. So would you. No, no problem.

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Trump’s Answers

Full Transcript

TRUMP: Right, well—

TRUMP: No. No.

TRUMP: No, I don’t. No, I don’t. I’m sure
if he said it—you know, I’m sure he said it.
Nice guy.

BW: —your new national security advisor,
O’Brien—

TRUMP: Right, well—

BW: —said to you on January 28, “Mr.
President, this virus is going to be the biggest
national security threat to your presidency.”
Do you remember that?

TRUMP: No. No.
BW: You don’t?

TRUMP: No, I don’t. No, I don’t. I’m sure
if he said it—you know, I’m sure he said it.
Nice guy.

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Trump’s Answers

Full Transcript

TRUMP: Yeah, I saw it. It was terrible. I
thought it was a terrible thing. I’ve said it—

TRUMP: During my speech. My rocket
speech on Saturday.

TRUMP: Which you probably saw.

TRUMP: I said it during my China speech on
Friday. And I said it the day before yesterday.

TRUMP: I got to watch—oh yeah, sure I got
to watch it. Everybody did. All you need is a
television, it was on.

BW: ...I want to get the, you know, what
happened, step-by-step, in reaction to the
George Floyd tape. Did you see it?

TRUMP: Yeah, I saw it. It was terrible. I
thought it was a terrible thing. I’ve said it—

BW: I know you have.

TRUMP: During my speech. My rocket
speech on Saturday.

BW: Yes.
TRUMP: Which you probably saw.
BW: Yeah. Of course.

TRUMP: I said it during my China speech on
Friday. And I said it the day before yesterday.

BW: Did you see it and, you know, watch the
whole thing, or just parts of it?

TRUMP: I got to watch—oh yeah, sure I got
to watch it. Everybody did. All you need is a
television, it was on.

Pages 335-36:

Trump’s Answers

Full Transcript

TRUMP: Very well-organized.

TRUMP: Well, I’m not—I—I don’t want to
even comment on that, Bob. I don’t want to
comment on that at this time. Hey, Bob, I got
all these people. I'll talk to you later on
tonight. Because I have to go because of
the—

BW: Well, we’re going into the election.
TRUMP: Very well-organized.

BW: Everyone keeps asking, suppose it’s a
close election, and it’s contested. What are
you going to do? Everyone says Trump is
going to stay in the White House if it’s
contested. Have you thought—

TRUMP: Well, I’m not—I—I don’t want to
even comment on that, Bob. I don’t want to
comment on that at this time. Hey, Bob, I got
all these people. I’ll talk to you later on
tonight. Because I have to go because of
the—

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Pages 341-42:

Trump’s Answers

Full Transcript

TRUMP: No. You really drank the Kool-
Aid, didn’t you? Just listen to you. Wow.
No, I don’t feel that at all.

BW: Let me ask you this. I mean we share
one thing in common. We’re white,
privileged who—my father was a lawyer and
judge in Illinois. And we know what your
dad did. And do you have any sense that that
privilege has isolated and put you in a cave, to
a certain extent, as it put me—and J think lots
of white, privileged people—in a cave? And
that we have to work our way out of it to
understand the anger and the pain,
particularly, Black people feel in this country?
Do you see—

TRUMP: No. You really drank the Kool-
Aid, didn’t you? Just listen to you. Wow.
No, I don’t feel that at all.

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Trump’s Answers

Full Transcript

TRUMP: Oh, absolutely. Slavery?
Absolutely.

TRUMP: [exhales] Well—

TRUMP: It’s been going on for a hundred
years, Bob.

TRUMP: It’s been going on for a hundred
years, plus.

TRUMP: I fully do. No, it’s very fair. It’s
been going on for a hundred years plus. It’s
been going on for a long time. And we’ve
made a lot of progress in a lot of different
ways. And a lot of progress is being made as
we speak. I mean right now. More than you
would even think. But this has been going on
for many, many years. Many, many years.

BW: ... But do you consider [slavery] an
atrocity, do you consider—

TRUMP: Oh, absolutely. Slavery?
Absolutely.

BW: And what’s happened after, up to this
day, that we do not have a system of equality
and equal opportunity?

TRUMP: [exhales] Well—
BW: I’m pushing.

TRUMP: It’s been going on for a hundred
years, Bob.

BW: Sure, but—

TRUMP: It’s been going on for a hundred
years, plus.

BW: Okay. You see what I’m asking.

TRUMP: I fully do. No, it’s very fair. It’s
been going on for a hundred years plus. It’s
been going on for a long time. And we’ve
made a lot of progress in a lot of different
ways. And a lot of progress is being made as
we speak. I mean right now. More than you
would even think. But this has been going on
for many, many years. Many, many years.

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TRUMP: Right.

TRUMP: Bob, I’m somebody that likes to
get things done rather than talk.

TRUMP: And what I would do is I would not
say—I would not think of it the way I believe
you would like me to thing of it—

TRUMP: Rather, I would tell them what I’ve
done.

Trump’s Answers Full Transcript
BW: Okay. Suppose I had ten Black Lives
Matter people here as a focus group.
TRUMP: Okay. TRUMP: Okay.

BW: And I said, here’s President Trump.
And this is what President Trump wants to
say to you about he can step out of his shoes.

TRUMP: Right.

BW: To understand what life is like in your
shoes. And what are you going to say?

TRUMP: Bob, I’m somebody that likes to
get things done rather than talk.

BW: Okay.

TRUMP: And what I would do is I would not
say—I would not think of it the way I believe
you would like me to thing of it—

BW: No, I’m not—I don’t like you one way
or another. Don’t get me wrong. [crosstalk]

TRUMP: Rather, I would tell them what I’ve
done.

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Trump’s Answers

Full Transcript

TRUMP: Well, I’m fighting on many fronts.
I’m fighting this, I was fighting the fake
Russia, Russia, Russia thing, which that
turned out to be a total fake. You’ll see that—

TRUMP: —#in a very short period of time.
We caught ’em spying on my campaign.

BW: ... But, you know, this is a genuine
crisis. And the question I have for this book
is what have you learned about yourself?

TRUMP: Well, I’m fighting on many fronts.
I’m fighting this, I was fighting the fake
Russia, Russia, Russia thing, which that
turned out to be a total fake. You’ll see that—

BW: I understand.

TRUMP: —in a very short period of time.
We caught ’em spying on my campaign.

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Trump’s Answers

Full Transcript

TRUMP: What won’t I like, Bob?

TRUMP: You know the market’s coming
back very strong, you do know that.

BW: ...I mean, there are parts of the book
you’re not gonna like. And—

TRUMP: What won’t I like, Bob?

BW: Well, it’s tough times. The virus, as you
repeatedly told me, and as you’ve said
publicly, it’s derailed things. And it’s a big
reality in people’s lives, as you know.

TRUMP: You know the market’s coming
back very strong, you do know that.

BW: Yes, of course.

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